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                                EXHIBIT 66




                                                                  Appx. 01536
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                   IN THE UNITED STATES BANKRUPTCY COURT
  1                  FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
  2
                                   )   Case No. 19-34054-sgj-11
  3   In Re:                       )   Chapter 11
                                   )
  4   HIGHLAND CAPITAL             )   Dallas, Texas
      MANAGEMENT, L.P.,            )   Friday, March 19, 2021
  5                                )   9:30 a.m. Docket
               Debtor.             )
  6                                )   MOTIONS TO STAY
                                   )   PENDING APPEAL
  7                                )
  8                       TRANSCRIPT OF PROCEEDINGS
                 BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
  9                    UNITED STATES BANKRUPTCY JUDGE.

 10   WEBEX APPEARANCES:

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                                                                  Appx. 01537
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                                                                    2


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 24         Proceedings recorded by electronic sound recording;
               transcript produced by transcription service.
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                                                                  Appx. 01538
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     1                DALLAS, TEXAS - MARCH 19, 2021 - 9:39 A.M.

     2               THE COURT:    We have a Highland setting on various

     3   motions for stay pending appeal of the confirmation order.

     4   This is Case No. 19-34054.         We have four Movants, or two

     5   Movants and two Joinders.         Let's get appearances first from

     6   those Movants.    First, for the Advisors, do we have Mr.

     7   Rukavina or someone from his team?

     8               MR. RUKAVINA:   Your Honor, good morning.        Davor

     9   Rukavina.    I apologize, my camera is not working.          IT is

    10   running here to fix it.      I represent NexPoint Advisors, LP and

    11   Highland Capital Management Advisors, LP.

    12               THE COURT:    All right.    Now for the -- what we call

    13   the Funds, who do we have appearing?        Someone from K&L Gates,

    14   Mr. Hogewood, by chance?

    15               MR. HOGEWOOD:   Good morning, Your Honor.        This is Lee

    16   Hogewood representing the Funds.        From K&L Gates, as you said.

    17   Thank you.

    18               THE COURT:    Okay.    Thank you.   All right.    For the

    19   joinder parties, who is representing Mr. Dondero this morning?

    20               MR. TAYLOR:   Good morning, Your Honor.      Clay Taylor

    21   appearing on behalf of Mr. Jim Dondero.

    22               THE COURT:    Okay.    And now for the Get Good Trust and

    23   the Dugaboy Trust, who do we have appearing?         Do we have Mr.

    24   Draper or someone?

    25               MR. DRAPER:   Good morning.     Good morning, Your Honor.




                                                                        Appx. 01539
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     1   Unfortunately, I was on mute.    This is Douglas Draper

     2   appearing for the Get Good and Dugaboy Trusts.

     3             THE COURT:   All right.   Thank you.

     4        Now for the Debtor team, who do we have appearing from the

     5   Debtor team?

     6             MR. POMERANTZ:    Good morning, Your Honor.   Jeff

     7   Pomerantz; Pachulski, Stang, Ziehl & Jones; on behalf of the

     8   Debtor.   Several of my colleagues are on the phone, but I will

     9   be handling the matter today.

    10             THE COURT:   Okay.   Good morning.

    11        For the Unsecured Creditors' Committee, who joined in the

    12   Debtor's objection, who do we have appearing?

    13             MR. CLEMENTE:    Good morning, Your Honor.    Matthew

    14   Clemente, Sidley Austin, on behalf of the Official Committee

    15   of Unsecured Creditors.

    16             THE COURT:   All right.   Well, that was all of the

    17   parties who filed pleadings.    I know we have a lot of

    18   observers this morning.

    19        First, let me ask, can you hear me okay?     I heard that

    20   there was a little bit of sound issue with my mic.      Can

    21   everyone hear me okay?     All right.

    22             MR. CLEMENTE:    Your Honor, when you first started, it

    23   was fuzzy, but when you were speaking just now, it sounded

    24   great.

    25             THE COURT:   Okay.   Good.




                                                                   Appx. 01540
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     1         All right.   Well, let's talk about time estimates.    I will

     2   tell you, I have a hard stop today at 12:15.      In a normal

     3   case, we would be definitely finished, I think, in probably an

     4   hour-ish.    I shouldn't say normal.   I should say in an average

     5   case.    But this case doesn't tend to be very average.     So I

     6   would think an hour per side, okay -- hour for the Movant and

     7   Joinders and then an hour for the Debtor and Committee, so a

     8   two-hour time limit -- would be reasonable.     Does anyone want

     9   to disagree with that?

    10         All right.   Well, then that's where I will limit you.

    11         And let me just ask, so I kind of know going in, is it

    12   going to be that the Movants have a witness or evidence to put

    13   in?   I saw last night the Debtors filed a witness and exhibit

    14   list, but I didn't scan it this morning to see -- oh, I do see

    15   that you filed, on the 17th, at least the Advisors filed a

    16   witness and exhibit list.

    17         So, anyway, I'll start with Mr. Rukavina.    Are you all --

    18   is your team going to put on evidence?

    19               MR. RUKAVINA:   Your Honor, our only evidence is going

    20   to consist of my Docket 2043, those exhibits you referenced.

    21   We reserve the right to cross-examine Mr. Seery if the Debtor

    22   puts him on.    But I think we envision mainly oral argument

    23   today.

    24         And just so Your Honor knows, my exhibits are pretty much

    25   just a record of the confirmation hearing plus a few claim




                                                                   Appx. 01541
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     1   transfer forms.

     2              THE COURT:   All right.   Well, are there any

     3   housekeeping matters before I go ahead and let the Movants

     4   make their opening statement?

     5        All right.   Well, you may proceed.     Mr. Rukavina, are you

     6   going first?

     7              MR. RUKAVINA:   No, Your Honor.    Mr. Hogewood will.

     8   So I'll yield to the podium to him, with your permission.

     9              THE COURT:   All right.   Mr. Hogewood, you may

    10   proceed.

    11      OPENING STATEMENT ON BEHALF OF CERTAIN FUNDS AND ADVISORS

    12              MR. HOGEWOOD:   Thank you, Your Honor.    Again, Lee

    13   Hogewood with K&L Gates on behalf of the Funds.

    14        As Your Honor knows, this confirmation hearing started on

    15   February 2nd and continued on to February 3rd.       The Debtors

    16   cleverly in their objection made reference to the movie

    17   Groundhog Day, and it seems appropriate for this case and for

    18   the day when the confirmation started.       We're here about six

    19   weeks later asking for a stay pending appeal.       Our papers have

    20   gone over many of the same arguments that the Court has

    21   rejected before, so in that regard it is indeed somewhat like

    22   the movie Groundhog Day.

    23        We also know that stays pending appeal are rare,

    24   especially stays granted by the court that rendered the

    25   decision that is to be appealed.     But the Rules require us to




                                                                    Appx. 01542
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     1   come to this first -- this Court first to request a stay in

     2   the first instance.

     3         The issues, I think, have been briefed, and there's no

     4   point in belaboring Groundhog Day-type arguments any more than

     5   is necessary.   So I'm going to try to be relatively brief, and

     6   I think the group will beat the hour that has been assigned to

     7   us.   We appreciate it.

     8         Like injunctions, stays are the exception, not the rule,

     9   and the standards are similar.    Balance of harms, likelihood

    10   of success, and the public interest.    In 30 years of practice,

    11   I have obtained three stays pending appeal.      In two of those,

    12   the bankruptcy judge granted the stay sua sponte.      Judge

    13   Marvin Wooten, the Western District of North Carolina, stayed

    14   two decisions in the early '90s because he was confident he

    15   was right, he knew he had pushed the envelope on existing

    16   Fourth Circuit authority, and he knew that the appeal would be

    17   moot without a stay.    He turned out to be right, the Fourth

    18   Circuit affirmed his decisions, and the law advanced in the

    19   manner that Judge Wooten thought that it should.      In the

    20   other, the bankruptcy judge denied the stay and the district

    21   court subsequently granted it.

    22         For many reasons, most of them already identified by Your

    23   Honor in earlier rulings, this is the type of case in which a

    24   stay should be granted.    In Your Honor's ruling on February

    25   8th and in the written order, the Court made abundantly clear




                                                                  Appx. 01543
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     1   that this Court viewed this case to be exceptional for a long

     2   list of reasons detailed orally and in writing.      A view of the

     3   case being exceptional was part of the justification for

     4   pushing the envelope on Fifth Circuit law on issues upon which

     5   the Funds have based their appeal.

     6        And I want to be clear:   The Funds' appeal is only on the

     7   issues of exculpation, injunction, and gatekeeper, in light of

     8   Pacific Lumber.   The Debtors challenged standing, and we all

     9   agree that the question is are we, the Funds, a person

    10   aggrieved?   The Funds are aggrieved in several ways.

    11        First, the Court made findings regarding a lack of

    12   independence or being controlled by the so-called Dondero

    13   complex.   The Funds, Your Honor, receive advice from the

    14   Advisors, and the Funds' boards make decisions based upon that

    15   advice, after making an independent determination of whether

    16   the advice is in the best interests of the Funds.      The Funds

    17   then expect the Advisors to implement that advice that they

    18   have given, or, indeed, if the Funds disagree with the advice,

    19   to implement the decision that the Funds have made.

    20        It is, therefore, customary for the Advisors to take the

    21   lead, including the lead in litigation matters on behalf of

    22   the Funds, and the Court's conclusions of Dondero's control

    23   and a lack of independence of the Funds based upon a lack of

    24   participation by the Funds is not fair.      The finding converts

    25   customary conduct into a conspiracy of control.




                                                                  Appx. 01544
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     1        The analogy that works for me on this, Your Honor, is a

     2   lawyer analogy.   If the Pachulski law firm advises the Debtor

     3   to file an adversary proceeding and the Debtor's independent

     4   board considers and accepts the advice and directs Pachulski

     5   to do so, Pachulski files the complaints, proceeds to take

     6   depositions, and moves the litigation forward.      No one would

     7   conclude from that conduct that Pachulski controlled the

     8   Debtor or that the Debtor lacked independence from its law

     9   firm.

    10        The same conclusion should be reached regarding the Funds.

    11   As was testified to at several hearings in this case, the

    12   Funds' independent board meets regularly, and during the

    13   pendency of this case, and particularly over the last several

    14   months, almost weekly, if not more, to address and consider

    15   advice from the Advisors and its independent counsel, a

    16   partner at a law firm, not at K&L Gates.

    17        These matters were testified to by Mr. Post, who is an

    18   officer of the Funds, and he is also an employee of the

    19   Advisors, but that does not make Mr. Post in control of the

    20   Funds.

    21        While the factual finding of the Court on this topic of

    22   control is already on the record and some harm may have

    23   already been done, a stay pending appeal of the confirmation

    24   order mitigates the harm until the issue can be considered by

    25   a higher court.




                                                                   Appx. 01545
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      1       The Funds also have a different view of the investment

      2   horizon for their assets, not the Debtors' assets, than is

      3   possible under the Debtor's so-called asset maximization plan.

      4   As part of that plan, the Debtor will be liquidating assets

      5   owned by the Funds, not the Debtor, more rapidly than the

      6   Funds' boards believe is in the best interests of their

      7   investors.   The confirmed plan creates an irreconcilable

      8   conflict between the Debtor and its plan obligations and the

      9   Funds and their investors.

    10        Interplay between the exculpation injunction and

    11    gatekeeper directly limits the Funds' contractual rights and

    12    may impair their ability to take action in the best interest

    13    of their holders, thousands of outside investors.     The Funds

    14    and their owners are aggrieved by these provisions.

    15        These issues have been presented repeatedly, and the Court

    16    clearly does not agree with the positions that I am stating on

    17    behalf of the Funds.   That said, the Court has made clear that

    18    this is an exceptional case.   And there is a good faith

    19    argument that we are making that the plan's provisions

    20    approved by the Court go well beyond what is permissible under

    21    existing Fifth Circuit law.

    22        Indeed, the exceptional nature of the case, at least in

    23    part, the Court's -- was, at least in part, underlying the

    24    Court's willingness to enter these sweeping provisions.     A

    25    stay pending appeal (audio gap) exceptional relief should be




                                                                   Appx. 01546
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      1   granted in an exceptional case so that plan provisions can be

      2   collectively tested.

      3         In the meantime, there is little harm to the Debtor in

      4   continuing to operate in Chapter 11 while the appeal proceeds,

      5   particularly if the Fifth Circuit accepts the certification of

      6   direct appeal from this Court.

      7         These are important issues that merit a review without the

      8   threat of having the appeal dismissed as moot, and this Court

      9   enjoys the discretion to grant a stay pending appeal.

     10         We respectfully request that you exercise that discretion

     11   in light of the previously-expressed view of the exceptional

     12   nature of this case.    Thank you very much.

     13              THE COURT:   All right.   Thank you.

     14         Are there any other opening statements for the Movants or

     15   Joining Parties?

     16              MR. RUKAVINA:   Your Honor, Davor Rukavina, if I may.

     17              THE COURT:   Okay.   Go ahead.

     18      OPENING STATEMENT ON BEHALF OF CERTAIN FUNDS AND ADVISORS

     19              MR. RUKAVINA:   Your Honor, I'll echo what Mr.

     20   Hogewood said, and I hope that the Court has some sympathy for

     21   us.   It's a difficult position we're in, telling a court that

     22   rendered an opinion, after careful thought and protracted

     23   deliberation, that she's wrong, and we do respectfully and we

     24   do so humbly.   But like Mr. Hogewood said, we are required by

     25   the Rules to come to this Court first.




                                                                   Appx. 01547
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      1        Your Honor, on my clients' standing, we are directly

      2   subject to the plan's injunctions.    And I have presented Your

      3   Honor case law, including the Fifth Circuit Zale opinion, that

      4   confirms that, in and of itself, that grants us standing.       And

      5   that's only logical.    A person subject to contempt for

      6   violating an injunction has the ability to test that

      7   injunction on appeal.

      8        As far as the economics of the plan, my exhibits, Your

      9   Honor, include four claim transfer forms that were filed two

     10   days ago.   I think there's one more in the works.    We have

     11   acquired, as part hiring various former Debtor employees, by

     12   agreement, we have acquired their Class 8 claims.     The Debtor

     13   did object to those claims last evening, but as of now those

     14   claims still exist and have not been disallowed.

     15        And if Your Honor wants to talk about the law, I have a

     16   case that confirms that a claim purchase, even after the entry

     17   of an underlying order, grants the party, so long as they

     18   acted timely, standing on the underlying order.

     19        So my clients, Your Honor, now have standing not only to

     20   contest the plan's injunction provisions but also the

     21   underlying plan itself.    And by that, I'm referring to the

     22   absolute priority rule.

     23        Your Honor, I have briefed that.   Your Honor has rejected

     24   my arguments.   Your Honor has relied on a Western District

     25   opinion.    Those issues are what they are.   I would simply




                                                                   Appx. 01548
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      1   humbly submit that I have made a substantial case on the

      2   merits on an important issue, which is, I think, what Judge

      3   Jones ruled is the standard for likelihood of success on the

      4   merits.

      5        And it really is very simple, Your Honor.     The Debtor

      6   argues and this Court accepted the argument that as long as

      7   equity doesn't get a penny until creditors are paid in full,

      8   then the absolute priority rule is preserved as opposed to

      9   being violated.    And I would argue that that's not the case

     10   because the Code clearly provides for the preservation or

     11   grant of any property interest, any property interest at all,

     12   no matter if it's worthless or highly contingent.

     13        On the exculpation and injunction provision, Your Honor.

     14   On exculpation, as I argued at the confirmation hearing, I

     15   think that the Fifth Circuit will revisit its Pacific Lumber

     16   opinion to allow the Court to exculpate case professionals for

     17   case administration during the pendency of the case.      And I

     18   think Your Honor will be affirmed on that.     I know some of my

     19   co-counsel will disagree.

     20        But the fact of the matter is that Pacific Lumber exists

     21   today.    It has yet to be overturned.   So, Your Honor, we

     22   believe that we have a probability of success on that issue.

     23        But more importantly, the exculpation that this Court

     24   approved does something that I don't think any court has

     25   approved before.   It exculpates prospective future post-




                                                                   Appx. 01549
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      1   reorganization liabilities.   That Your Honor I don't think can

      2   do under any scenario.

      3        On the injunction issue, as I argued before, if the Court

      4   will have no jurisdiction to entertain the purely post-

      5   confirmation action, I accept and I respect and I agree that

      6   the Court has vast powers with respect to pre-confirmation

      7   claims, but on the post-confirmation claims that are enjoined,

      8   if the Court will have no jurisdiction to try those claims,

      9   then the Court will have no jurisdiction to issue a finding

     10   that the claim is colorable or not.    Because if the Court

     11   finds that the claim is not colorable, I'm done.     There's no

     12   other court I can go to.   There's no mechanism that I can at

     13   that point in time trigger to protect my clients' rights.

     14        And Your Honor, with respect to the Debtor's arguments

     15   about prior orders entered in the case, it's black letter law

     16   that the Court cannot create jurisdiction and the parties

     17   cannot stipulate to jurisdiction.    So whatever prior orders

     18   were entered in the case, and we can talk about whether they

     19   were intended to apply post-confirmation or not, those prior

     20   orders cannot be read as creating jurisdiction where none

     21   would exist, i.e., post-confirmation.

     22        Your Honor, on the Rule 2015.3 issue, it's not worth even

     23   talking about today.   It's a minor issue.    I made it to

     24   preserve the record on it.

     25        I echo what Mr. Hogewood said about the Debtor not being




                                                                   Appx. 01550
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     1   harmed.   Mr. Seery has terminated or the Debtor has terminated

     2   the shared services agreements.    The Debtor has terminated

     3   employees.   The Debtor will have very little cost going

     4   forward as far as administering its assets.     That cost will be

     5   incurred regardless of whether the plan goes effective or not.

     6        The Debtor has only some six assets left to administer.

     7   The Debtor, as I understand it, is in the process of already

     8   trying to sell those assets.    The Debtor can do that in

     9   Chapter 11 or post-confirmation.

    10        So, as I asked Mr. Seery at the confirmation hearing, as I

    11   have briefed and as we have in the transcripts, the plan gives

    12   Mr. Seery nothing that he lacks today in order to finish

    13   administering this estate.   By that, I mean to liquidate its

    14   assets and to adjudicate its liabilities.

    15        The Debtor's response to my motion did accurately raise an

    16   issue that I had not fully developed, which is that, yes, the

    17   Debtor will have an increased cost if it's in a Chapter 11

    18   that's open because of a stay pending appeal.     And the Debtor

    19   -- the bond -- if the Court grants a stay pending appeal, a

    20   bond should take into account that increased cost.      So that's

    21   the final point I have to make, Your Honor, which is that if

    22   we talk about the bond, whether now or later, what I had

    23   proposed initially was that okay, the creditors that would be

    24   paid soon should be compensated for the time value of money.

    25   That's a proposition that the Debtor appears to agree with.




                                                                   Appx. 01551
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      1   And we know what the appropriate interest rate is.       And then

      2   we should include in the bond an amount for the Debtor's

      3   additional burn rate for being in Chapter 11, meaning filing

      4   MORs, perhaps filing 9019 motions.     But it's not $2.2 or $2.3

      5   million per month, as the Debtor suggests.        It's a far lower

      6   amount.   And again, we can argue about that later, depending

      7   on whether the Debtor has evidence on that or not.

      8        So we believe that a bond in the neighborhood of $3 or $4

      9   million is appropriate, and that in the future, if we lose the

     10   appeal, then the Court will decide what portion of that bond

     11   should be forfeited, not as liquidated damages, not as the

     12   price of playing poker, but as compensation for the actual

     13   increased cost the estate incurred as a result of not having

     14   the plan go effective.

     15        Thank you, Your Honor.

     16             THE COURT:    All right.   Thank you.

     17        Do any of the Joining Parties have opening statements?

     18             MR. TAYLOR:    Yes, Your Honor.   Clay Taylor on behalf

     19   of Mr. Jim Dondero.

     20             THE COURT:    Okay.

     21             OPENING STATEMENT ON BEHALF OF JAMES DONDERO

     22             MR. TAYLOR:    Your Honor, I'm not going to reiterate

     23   what Mr. Hogewood and Mr. Rukavina said, but I did want to

     24   address one thing that the Court has brought up before and I

     25   thought it was important to address that point.       And that is,




                                                                     Appx. 01552
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      1   what is Mr. Dondero's standing and how is -- and when we're

      2   talking about a stay pending appeal, how in the balancing of

      3   the harms to the respective parties, how is Mr. Dondero being

      4   harmed?

      5        Well, Mr. Dondero has said from the beginning of this

      6   case, when Mr. Seery started selling off assets with little to

      7   no notice, that he wasn't getting enough value for those.

      8   Okay?   And the question has been raised, well, if equity was

      9   never going to be reached anyway, how is Mr. Dondero harmed?

     10   Well, as Your Honor has seen, and the papers have certainly

     11   said, and as suits have started to be brought, alter ego

     12   claims are being brought against Mr. Dondero.     To the extent

     13   the value, the full value of those assets are not realized,

     14   which Mr. Dondero says should be higher and could be higher if

     15   proper notice was given and a full auction-like process was

     16   instituted, then Mr. Dondero and the Unsecured Creditors'

     17   Committee or the Trust, as the case may be, if this plan goes

     18   effective, is going to bring those claims for the difference

     19   between what was actually recovered and what the full value of

     20   the debt is.   And that could run into the tens or hundreds of

     21   millions of dollars.

     22        So that is true irreparable harm that my client is going

     23   to face if there's no stay pending appeal.     And we think that

     24   is a very important one.   And as Mr. Rukavina just stated,

     25   there's no real difference to the Debtor and Highland if it




                                                                   Appx. 01553
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      1   runs its wind-down plan through a Chapter 11 or,

      2   alternatively, under its wind-down or liquidation plan.         And

      3   so, therefore, that is something we wanted the Court to

      4   consider.

      5               THE COURT:    Thank you.   All right.

      6       Any other openings from the Objectors?          Or, I'm sorry, the

      7   Movants and Joinders?      Mr. Draper, anything from you?

      8               MR. DRAPER:   Yes, Your Honor.    I have just a few

      9   comments to make.

     10    OPENING STATEMENT ON BEHALF OF THE GET GOOD TRUST AND DUGABOY

     11                              INVESTMENT TRUST

     12               MR. DRAPER:   The Court has looked very carefully at

     13   Pacific Lumber and has spent an inordinate amount of time.             In

     14   our joinder paper, we gave the Court the citation to Stanford

     15   -- S.E.C. versus Stanford, and I'd ask the Court, when you

     16   look at success on the merits, to take Pacific Lumber, take

     17   S.E.C. v. Stanford, and Judge Jones' decision ten years later,

     18   and juxtapose that to the Blixseth decision that was cited by

     19   Mr. Pomerantz.    And you could see the Fifth Circuit view on

     20   both exculpation and releases.

     21       And the interesting note is Pacific Lumber was written by

     22   Judge Jones in 2009, S.E.C. v. Stanford is 2019.         And S.E.C.

     23   v. Stanford, though it's a receivership case, looks directly

     24   at the jurisdiction of a district court to grant the relief

     25   that's been requested here.      And I'd ask the Court to take a




                                                                      Appx. 01554
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      1   look at that.    We think success on the merits is apparent from

      2   just looking at those three cases.

      3             THE COURT:   All right.   Thank you.

      4       All right.    Mr. Pomerantz, opening statement?

      5             MR. POMERANTZ:    Yes, Your Honor.    I have a fairly

      6   lengthy opening statement that I was going to go through each

      7   of the issues and elements in a lot more detail.      I'm happy to

      8   do that, Your Honor.   I have a lengthy argument on standing

      9   and harm and whatnot, if Your Honor believes that that would

     10   +be helpful.    I don't want to waste the Court's time if Your

     11   Honor does not believe that would be helpful.

     12             THE COURT:   All right.   Go ahead.    I think it would

     13   all be helpful.

     14             MR. POMERANTZ:    Okay.

     15              OPENING STATEMENT ON BEHALF OF THE DEBTOR

     16             MR. POMERANTZ:    Your Honor, we're here yet again --

     17   first of all, I'd like to admit my exhibits into evidence.

     18   Again, as similar to Mr. Rukavina's exhibits, they are

     19   essentially documents that are part of the court record.      I

     20   don't think there's any controversy regarding them.

     21       Also, we do not intend to present any witnesses at the

     22   hearing today.

     23             THE COURT:   All right.   Well, shall we --

     24             MR. RUKAVINA:    Your Honor, if --

     25             THE COURT:   Yes.   Shall we both just stipulate to the




                                                                   Appx. 01555
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                                                                           20

      1   admissibility of all of these exhibits?         Are you both in a

      2   position to do that?

      3               MR. RUKAVINA:    I am prepared to stipulate, Your

      4   Honor.

      5               MR. POMERANTZ:    Yes, I am, Your Honor.

      6               THE COURT:   All right.   So, --

      7               MR. POMERANTZ:    Thank you, Your Honor.

      8               THE COURT:   So, let me just be clear.      The Movants'

      9   collective exhibits are found at Docket Entry 2043, and it

     10   looks like we have -- is it Exhibits A through M, Mr.

     11   Rukavina?

     12               MR. RUKAVINA:    Yes, Your Honor.    Exhibits A through M

     13   as in Mary.

     14               THE COURT:   Okay.

     15               MR. RUKAVINA:    One of those, just so Your Honor

     16   knows, has a wrong exhibit label on it, so we'll file an

     17   amended that just cleans it up, but otherwise it's all in

     18   there and correct.

     19               THE COURT:   All right.   So those are admitted.

     20       (Movants' Exhibits' A through M are received into

     21   evidence.)

     22               THE COURT:   And then Debtor's exhibits are at Docket

     23   Entry 2058.    They are Numbers 1 through 33, correct, Mr.

     24   Pomerantz?

     25               MR. POMERANTZ:    Your Honor, I believe it's 1 through




                                                                       Appx. 01556
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                                                                         21

      1   36.

      2              MR. MORRIS:   Substantively, it's 1 through 33, Your

      3   Honor.

      4              THE COURT:    Okay.

      5              MR. POMERANTZ:   Okay.

      6              THE COURT:    All right.   So those are admitted.

      7              MR. POMERANTZ:   Oh, you're right.     That is correct.

      8              THE COURT:    Okay.   Those will be admitted as well.

      9         (Debtor's Exhibits 1 through 33 are received into

     10   evidence.)

     11              THE COURT:    All right.   Go ahead.

     12              MR. POMERANTZ:   Thank you, Your Honor.     Your Honor,

     13   we're here yet again to respond to a series of motions filed

     14   by the Dondero entities, now in their capacity as Appellants,

     15   seeking to put another roadblock in the way of the plan and

     16   distributions to creditors.

     17         These motions, like the various litigation involving the

     18   Dondero entities that preceded them, border on the frivolous

     19   and are not presented in good faith.      They are being

     20   prosecuted to harass the Debtor and its creditors, get them to

     21   spend more money, in the hope that at some point the Debtor

     22   and the creditors will accept Mr. Dondero's plan.

     23         While yes, this case is exceptional, it's not exceptional

     24   because of any legal issues involved.       It's exceptional as to

     25   the level at which a former CEO and person in control of the




                                                                     Appx. 01557
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      1   Debtor has taken to interfere with the Debtor, its operations,

      2   and a court-appointed independent board.

      3       Mr. Dondero has had every opportunity throughout this case

      4   to make a proposal acceptable to the Debtor and creditors to

      5   buy his company back.   The Court has implored him to do so on

      6   many occasions, as have the Debtor and the creditors.     But to

      7   this point, he's refused to provide an acceptable proposal.

      8       He should just acknowledge defeat and go on with the

      9   remaining business ventures he has, but as we know, Your

     10   Honor, that's not the Dondero way.    And we are here yet again

     11   spending estate resources which should really be put in

     12   creditors' pockets.

     13       The Court should deny the motion for several reasons.

     14   First, as I will go into in some detail, the Appellants lack

     15   standing to appeal the confirmation order as they cannot

     16   demonstrate that they're persons aggrieved.

     17       However, even if the Court determines that the Appellants

     18   do have standing to appeal, they cannot satisfy the standard

     19   for a stay, which, as everyone admits, is an extraordinary

     20   remedy that requires the Appellants to establish each of four

     21   elements.   They can't demonstrate likelihood of success on the

     22   merits of any of the legal issues.    They haven't established

     23   harm, let alone irreparable harm, from a stay.     And

     24   conversely, the Debtor has presented a compelling case of why

     25   it and its creditors, who have been waiting for years to be




                                                                   Appx. 01558
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      1   paid, will be harmed if the confirmation order is stayed.      And

      2   lastly, Your Honor, the public interest is not stayed -- is

      3   not served by allowing the Dondero entities' parochial agenda

      4   to get in the way of a prompt conclusion in this case.

      5        Before addressing each of these issues in detail, Your

      6   Honor, I did want to address an overarching issue that cuts

      7   across several of the Appellants' arguments specifically as

      8   they relate to the injunction and exculpation provisions.

      9   Appellants argued at confirmation and they repeat the

     10   arguments here in the papers and comments today that by

     11   extending the exculpation and injunction provisions to matters

     12   relating to implementation and consummation of the plan, the

     13   Appellants are prevented from exercising their rights on the

     14   post-effective-date commercial relationships that they will

     15   have with the Reorganized Debtors and for pursuing claims

     16   against protected parties relating to the same.

     17        The argument, however, Your Honor, reflects a serious

     18   misunderstanding of this language, implementation and

     19   consummation.   At confirmation, I informed the Court and all

     20   objecting parties that the words implementation and

     21   consummation did not go as far as the Appellants feared.

     22   Specifically, I reminded everyone that implementation was a

     23   term of art that was specifically referenced in 1123(a)(5) of

     24   the Code and which provides that a plan can provide for its

     25   implementation.   And I described the primary means of




                                                                   Appx. 01559
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      1   implementation under the plan that the exculpation and the

      2   injunction related to, which matters are set forth in Article

      3   5 of the plan and include a cancellation of equity interests,

      4   the creation of new general partners and limited partner of

      5   the Reorganized Debtor, a restatement of the limited

      6   partnership agreement, and the establishment of the Claimant

      7   Trust and the Litigation Trust.

      8       The injunction prohibits efforts to interfere, among other

      9   things, with those steps, and the exculpation prohibits

     10   parties from asserting claims against the exculpated parties

     11   relating to those activities that relate to implementation.

     12       Implementation in the context of the injunction provision

     13   does not mean performance under post-effective date

     14   contractual relationships that the Debtor will operate after

     15   the effective date.   Accordingly, the argument that the

     16   injunction prevents them from exercising rights under the CLO

     17   agreements is just not true.

     18       Similarly, Your Honor, the term consummation is not vague

     19   either and does not mean what the Appellants contend.

     20   Consummation is a commonly-used term and has been defined by

     21   the Fifth Circuit and the Code.    Section 1101(2) defines

     22   substantial consummation as the transfer of assets to be

     23   transferred under the plan, the assumption by the Debtor of

     24   the management of all assets and property dealt with by the

     25   plan, and the commencement of distributions under the plan.




                                                                   Appx. 01560
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      1        While consummation of the plan may be broader than

      2   substantial consummation, again, it does not mean preventing

      3   parties from exercising their rights under post-effective date

      4   commercial contracts.

      5        So, again, an injunction that prohibits acts to interfere

      6   with consummation of the plan and an exculpation that protects

      7   exculpated parties from being sued for negligent -- for

      8   actions taken in connection with consummation of the plan do

      9   not have the far-reaching effects the Appellants claim in

     10   their motion.

     11        Your Honor, I would now like to turn to standing of the

     12   Appellants to prosecute the appeals.    As we all agree, under

     13   Fifth Circuit law, bankruptcy appellate standing requires

     14   appellants to demonstrate they are persons aggrieved.      The

     15   Appellants have the burden to demonstrate that they are

     16   directly and adversely or pecuniarily affected by the order

     17   and that their alleged injuries are not conjectural or

     18   hypothetical.

     19        With the clarification of the meaning of implementation

     20   and consummation that I just discussed, the Appellants cannot

     21   meet their burden.

     22        One more overarching comment that applies to the standing

     23   of all Appellants.   They each argue, and Mr. Rukavina stressed

     24   it today, that, because they are subject to a plan injunction,

     25   that, by definition, they have appellate standing under Zale.




                                                                   Appx. 01561
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      1   But Appellants misread Zale.   In that case, the debtor

      2   obtained an injunction, the stated purpose of which was to

      3   prevent appellants from bringing claims against an insurer

      4   relating to a global settlement in which the appellants were

      5   left out.   The Fifth Circuit rightfully held that where an

      6   injunction specifically barred those parties from pursuing

      7   their rights, they had standing to appeal.      That is a far cry

      8   from the standing to appeal an injunction in a plan which is

      9   not party-specific but applies to the world to prevent anyone

     10   from interfering with the plan.

     11       If Appellants are right, then in every case where there's

     12   a confirmed plan that contains an injunction, and they all do,

     13   that any party in the world would have standing to appeal

     14   because their rights are theoretically affected by the

     15   injunction.   That just isn't the law.      Something more, some

     16   tangible injury is required to confer standing on the

     17   Appellants.

     18       In addressing the standing, lack of standing, I want to

     19   put the Appellants into three buckets.       The first bucket are

     20   Dugaboy, Get Good, and Dondero, who filed joinders to the

     21   motion.   None of these parties have legitimate claims in the

     22   case, and the Court found at confirmation that their interests

     23   were extremely remote and their objections not filed in good

     24   faith.

     25       None of these parties have colorable Class 8 claims or are




                                                                    Appx. 01562
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      1   harmed by the purported violation of the absolute priority

      2   rule.

      3        None of these parties were harmed by the failure of the

      4   Debtor to file the 2015.3 reports.

      5        None of these parties have attempted to assert claims

      6   against any of the exculpated parties that their concern will

      7   be lost if the exculpation provision is affirmed on the

      8   appeal.

      9        And none of these parties have any ongoing business

     10   relationships or dealings with the protected parties such that

     11   the gatekeeper provision will actually have more than a

     12   theoretical effect on them.   Why is there the gatekeeper

     13   provision in the plan?   It prevents them from harassing the

     14   protected parties.

     15        Mr. Dondero's counsel makes a new argument today in his

     16   comments, that because he is a defendant and because he will

     17   be pursued, he has a vested interest in making sure the assets

     18   are sold for as much as they can be sold for.     If that's the

     19   case, Your Honor, every defendant in every bankruptcy matter

     20   would have the same argument.    He hasn't presented any law,

     21   and I suspect he can't, to demonstrate standing.

     22        Based upon the foregoing, Your Honor, Dugaboy, the Get

     23   Good Trust, and Mr. Dondero are not persons aggrieved by the

     24   confirmation order, as any effect on them is only conjectural

     25   or hypothetical.




                                                                   Appx. 01563
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      1       Next, Your Honor, the Advisors.    The Advisors argue,

      2   without authority, that because they are purportedly harmed by

      3   the plan, they can raise any infirmity with the plan, even if

      4   it does not affect them.   They don't cite any authority for

      5   that proposition, and it doesn't make sense.     In fact, the

      6   2009 Southern District case of Cypress Wood is to the

      7   contrary, where the court stated that courts across the nation

      8   have determined that parties in interest may only object to

      9   plan provisions that directly implicate its own rights and

     10   interests.

     11       If the appellate court reverses on the absolute priority

     12   rule or the 1129(a)(2) issues, which it won't, the Advisors'

     13   rights will not be affected at all.

     14       Recognizing that the standing to appeal on the basis of a

     15   perceived violation of the absolute priority rule was tenuous,

     16   the Advisors attempted to manufacture standing by acquiring

     17   the claims of four employees who were terminated by the Debtor

     18   and now presumably work for the Advisor as one of the -- at

     19   one of the Dondero companies.

     20       In fact, the Debtor could, if it wanted to, object to the

     21   transfers of the claims on a lack of good faith, that there is

     22   case law that says you can't acquire a case -- claims for the

     23   purpose of standing if it demonstrates good faith.

     24       Notably, they acquired those claims on Wednesday, after --

     25   long after the filing of their stay motion and after the




                                                                   Appx. 01564
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      1   Debtor filed its opposition.

      2        Putting aside acquiring -- whether -- putting aside the

      3   issue of whether acquiring these claims at this juncture, when

      4   none of those creditors appealed the order, none of those

      5   creditors objected to confirmation of the plan, could

      6   magically confer standing on the Advisors, which we say they

      7   can't, the fact is these claims are not valid.     The Court

      8   heard testimony at various hearings, including with respect to

      9   the KERP motion and plan confirmation, that the Debtor

     10   intended to terminate the vast majority of its employees at or

     11   soon after confirmation, and that the termination of the

     12   employees prior to the vesting of their bonuses would

     13   eliminate those claims for bonuses.    No one ever challenged

     14   that position.

     15        Accordingly, since the four employees whose claims the

     16   Advisors purportedly acquired were terminated, those claim

     17   don't exist, and, in any event, would not be more than

     18   $40,000.

     19        But Your Honor, there is more to the story, and it is

     20   reflected in the objection to these and other claims which the

     21   Debtor filed yesterday.   It's not before Your Honor, but I

     22   think it's perspective Your Honor needs to be aware of in

     23   considering whether the Advisors have standing relating to

     24   these claims.

     25        As the Court will recall, the Debtor obtained approval of




                                                                   Appx. 01565
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      1   a KERP program that would have entitled a number of employees

      2   who were not expected to be with the Debtor long-term after

      3   confirmation to a cash payment if they signed a separation

      4   agreement.   The employees whose claims were purportedly

      5   purchased by the Advisors are four of those 54 employees.

      6   None of them signed the separation agreement.     As set forth in

      7   our objection, we are informed and believe that Mr. Dondero

      8   told them he would not hire them if they signed the agreement.

      9   Rather, we're informed and believe that Mr. Dondero required

    10    these employees to transfer the claims to one of his entities

    11    as a condition of their continued employment.

    12        But there is more.   As reflected in our claims objection,

    13    we have recently learned that the Debtor -- that certain of

    14    the Debtor's employees, acting on their own and without any

    15    approval from Mr. Seery or the independent board, changed the

    16    vesting requirements for the award letters that were given to

    17    employees in connection with the 2019 contingent award granted

    18    in August 2020 for services rendered in 2019.

    19        What did that change do?    It purportedly provided that the

    20    Debtor would remain on the hook for the 2019 contingent bonus

    21    award even after the Debtor terminated their employment,

    22    provided the employees continued to work for an affiliate.

    23    And what were the specific affiliates that were identified in

    24    the amendment, Your Honor?   Highland Capital Management Fund

    25    Advisors, NexPoint Advisors, and NexPoint Securities.




                                                                   Appx. 01566
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      1         These changes are not enforceable against the Debtor for a

      2   variety of reasons.   The Debtor is continuing its

      3   investigation, and wouldn't be surprised to learn that these

      4   changes were orchestrated by Mr. Dondero in an attempt to

      5   stick the Debtor with a continuing liability where none were

      6   expected to exist.

      7         Again, Your Honor, I don't raise these issues to litigate

      8   them now.    I realize I was testifying from the podium.   They

      9   will be litigated in connection with our claim objection.      But

     10   I raise them in the context of the standing that the

     11   Appellants -- the Advisors have attempted to manufacture.

     12         The Advisors also argue that they have standing to appeal

     13   the injunction because it prohibits the Advisors from advising

     14   or causing their clients to exercise their contractual rights

     15   against the Reorganized Debtor pursuant to the CLO management

     16   agreements.

     17         Nothing, Your Honor, prevents the Advisors from advising

     18   their clients to do anything.   It's not the Advisors that have

     19   commercial relationships with the Debtor under the CLO.      It's

     20   the Funds.    And those relationships with the Funds are they

     21   are investors in a fund that the Debtor manages.     The Advisors

     22   are simply free to provide the Funds with any advice they want

     23   to.

     24         Moreover, with the clarification I provided earlier, there

     25   is just no merit to the argument that the injunction in the




                                                                   Appx. 01567
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      1   plan will affect the Advisors' advice to the Funds regarding

      2   the CLO agreements.

      3        Advisors also say that the gatekeeper infringes on their

      4   ability to assert claims post-confirmation.     As it relates to

      5   the CLO agreements, it's not the Advisors who have those

      6   claims, theoretically, but it's the Funds.     And if the

      7   Advisors, as I think was indicated in a footnote in Mr.

      8   Rukavina's pleadings, are concerned that the gatekeeper

      9   provision impacts their ability to assert claims under the

     10   remaining commercial relationships they have with the Debtor

     11   with respect to shared services, that's incorrect as well.

     12   The February 24th order, Your Honor, and the subsequent

     13   agreement between the Advisors and the Debtor both provide

     14   that the bankruptcy court has exclusive jurisdiction to

     15   resolve any disputes between the parties.

     16        Accordingly, it's not the gatekeeper provision that will

     17   require the Advisors to litigate in bankruptcy court, but

     18   rather that order and the agreement.

     19        Lastly, Your Honor, are the Funds.     They argue that the

     20   injunction provision prevents them from seeking to terminate

     21   the CLO agreements and exercising their rights thereunder, and

     22   for the reasons I discussed, they're wrong.     It is the January

     23   9th order that prevents the termination of the Debtor as the

     24   manager of the CLO agreements, and that issue is being

     25   litigated in connection with a preliminary injunction hearing




                                                                   Appx. 01568
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      1   that Your Honor will hear next week.    If the Debtor wins, then

      2   the Funds cannot seek to terminate the CLO management

      3   agreements.   If the Debtor loses, nothing in the plan will

      4   prevent the Funds from exercising whatever rights they have to

      5   terminate the CLO agreements, subject to all applicable

      6   defenses.

      7        What is impacted by the plan is the assertion of

      8   affirmative claims they may have, which would have to be

      9   presented to the Court under the gatekeeper provision.

     10        And while it is not before the Court today, Your Honor, I

     11   do want to respond to the comments in the Funds' reply and

     12   also the comments made by Mr. Hogewood earlier that they are

     13   not related entities under the January 9th order.     As hard as

     14   the Funds try, they cannot disentangle themselves from Mr.

     15   Dondero.    Mr. Hogewood testified at the podium.   We believe

     16   the testimony he gave is not consistent with the prior

     17   testimony that has been given by Mr. Dondero, Mr. Post, and

     18   Mr. Norris.   The Funds' continuing assertions that they are

     19   managed by an independent board of directors has not convinced

     20   the Court that they're truly independent.

     21        Your Honor has heard the testimony.    Your Honor has

     22   assessed credibility.   And most importantly, Your Honor has

     23   seen what's happened in the last few months of litigation with

     24   them.   None of these so-called directors have ever testified

     25   to the Court, and up until these motions, the Funds and




                                                                   Appx. 01569
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      1   Advisors have been in lockstep, asserting the same issues by

      2   the same counsel with the same witnesses for Advisors.     You

      3   heard at the last hearing that the Funds wouldn't agree --

      4   wouldn't force Mr. Dondero to do the shared service agreement

      5   because they didn't -- because Mr. Dondero needed to be in the

      6   -- in the facility.

      7       There is no evidence that there is independence, and Mr.

      8   Hogewood's comments are just not well taken.

      9       And the Court found in the confirmation order that the

     10   Funds are marching to the order thereon controlled by him.

     11   Those findings will be entitled to great deference, and it

     12   will be hard for them to be overturned on appeal.     And the

     13   findings are sufficient in and of themselves to cause the

     14   Funds to come within the definition of related parties.      But,

     15   again, that's not before Your Honor today.

     16       In any event, for purposes of this motion, it's clear that

     17   neither the exculpation provision or the injunction provisions

     18   will affect the Funds' rights after the effective date, and

     19   they cannot establish standing to appeal with respect to those

     20   provisions.

     21       The Debtors do acknowledge that, solely with respect to

     22   the gatekeeper provision, the Funds have standing to appeal

     23   that issue because of the requirement that they first come to

     24   the bankruptcy court before asserting claims under the CLO

     25   management agreements.




                                                                   Appx. 01570
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      1       I would now like to turn to the merits of the motions and

      2   explain why the extraordinary remedy of a stay is not

      3   appropriate.   The Appellants cannot demonstrate that they are

      4   likely to prevail on the merits of any of the issues they

      5   contend the Court erroneously decided, nor do they raise

      6   issues that are in serious dispute.

      7       Let's first take the absolute priority rule.      The Advisors

      8   repeat the arguments they made at confirmation that the plan

      9   violates the absolute priority rule because Class 10 and Class

     10   11 interest holders can receive property after all Class 8 --

     11   or that they can receive a contingent interest that is

     12   property but that will only receive a distribution until after

     13   all Class 8 and Class 9 creditors are paid in full with

     14   interest.

     15       As I mentioned previously, Your Honor, the Advisors have

     16   no business making this argument because it doesn't affect

     17   them, and we challenge their standing on the claims they

     18   purchased.   That claims acquisition was a last-minute gimmick,

     19   and a poor one, for the reasons that I just went over a few

     20   minutes ago.

     21       On a more substantive level, though, Your Honor, the

     22   argument fails now for the same reasons it did at

     23   confirmation, and it hardly rises to an issue that they're

     24   likely to prevail on appeal.

     25       The Advisors don't cite any new case law, make any new




                                                                   Appx. 01571
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      1   arguments.   They just claim that the Court got it wrong.

      2        Importantly, the Advisors have not cited any case that

      3   concerned a fact pattern even remotely like the fact pattern

      4   in this case, of course, other than the Introgen case that

      5   just rejects their argument on strikingly similar facts.

      6        Advisors continue to misconstrue the meaning and the

      7   purpose of the absolute priority rule.      The rule is meant to

      8   prevent equity holders from receiving properties that senior

      9   creditors are entitled to until the -- unless the senior

     10   creditors consent or are paid in full.

     11        The corollary to the rule which the Advisors brush aside

     12   is that no creditor can receive more than a full recovery

     13   based upon value determined at confirmation.     The plan is

     14   faithful to both those concepts.

     15        First, the Debtor does not dispute that the contingent

     16   interest is a property right, but that's not the end of the

     17   story.   The language that the Advisors conveniently omitted

     18   from their brief from the Supreme Court Ahlers decision says

     19   that a retained equity interest which would violate the

     20   property -- the absolute priority rule is a property interest

     21   to which the creditors are entitled before shareholders can

     22   retain it for any purpose.   Under the plan, the property

     23   interest that the Class 10 and Class 11 creditors are

     24   receiving is a springing contingent interest payable only

     25   after Class 8 and Class 9 holders are paid in full.




                                                                   Appx. 01572
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      1       That interest, the right to receive payment after

      2   creditors are paid in full, is not an interest to which the

      3   creditors are entitled.   It is, by definition, an interest

      4   that equity is entitled to after creditors are not entitled to

      5   receive anything more.    Class 10 and Class 11 creditors are

      6   not entitled to receive anything until that time.     They're not

      7   the beneficiaries of the Trust.    They have no right to control

      8   the Claimant Trust.   They can't transfer their interests.

      9       As the Introgen court reasoned, the right is imaginary and

     10   nonexistent until creditors are paid in full, plus interest,

     11   as provided under the plan.

     12       So, accordingly, the contingent interests held by the

     13   holders of the Class 10 and Class 11 claims are not property

     14   that creditors should receive under a straightforward

     15   application of the absolute priority rule.

     16       Moreover, the plan provided for this contingent recovery

     17   to Class 10 and 11 creditors to avoid a valuation fight over

     18   the value of the Debtor's litigation claims at confirmation.

     19   As Your Honor is aware, the Debtor's assets consist of cash,

     20   publicly-traded stocks, interests in private equity, and

     21   causes of action.   The Debtor had a good idea of the value of

     22   the non-litigation claims as of confirmation, and those values

     23   form the basis of the plan projections, which reflected that

     24   Class 8 general unsecured creditors were to receive

     25   approximately 70 cents on the dollar.




                                                                   Appx. 01573
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      1        However, the Debtor did not provide at confirmation a

      2   value of the litigation assets as they existed at

      3   confirmation.   Pursuit of those litigation assets which

      4   existed at the time of confirmation at some value could result

      5   in Class 8 and Class 9 creditors receiving more than a hundred

      6   percent on their claims.   So what?   To avoid a confirmation

      7   fight -- a valuation fight at confirmation where the Dondero

      8   parties would have undoubtedly argued that the value at

      9   confirmation of the Debtor's assets could result in payment in

     10   full or more to Class 8 and Class 9 claims, thus violating the

     11   absolute priority rule, the Debtor provided that any excess

     12   proceeds would be paid to the Class 10 and 11 interest

     13   holders.

     14        Advisors brush this argument aside, claiming that debt-

     15   for-equity plans that are routinely approved provide that

     16   creditors may receive more than a hundred percent on their

     17   claims, and they say that the Supreme Court precedent gives

     18   this future upside to the creditors, not the equity holders.

     19   But the Advisors, Your Honor, miss the point.     The debt-for-

     20   equity plans that Advisors point to give the creditors upside

     21   based upon future appreciation of value.     The upside that the

     22   Debtor gives the Class 10 and the Class 11 interest holders is

     23   the contingent upside based upon value that existed as of

     24   confirmation.

     25        Case law is clear that creditors cannot receive more than




                                                                   Appx. 01574
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      1   a hundred percent of their claim based upon value at

      2   confirmation, and the plan is faithful to that proposition.

      3        Turning to 1129(a)(2), Your Honor, all Appellants except

      4   for the Funds argue that the Court erred in confirming the

      5   plan because the Debtor did not file reports required by

      6   2015.3 and thus could not satisfy 1129(a)(2) of the Code

      7   because the Debtor as the proponent of the plan has not

      8   complied with the applicable provisions of this title.

      9   Essentially, they argue that 1129(a)(2) is a strict liability

     10   statute and if the Debtor has violated one provision of the

     11   Code or Rules, no matter what, no matter what the context, and

     12   no matter who it affects, the Court cannot confirm the plan.

     13   Not raising this issue in their confirmation objections and

     14   waiting until the confirmation hearing was the quintessential

     15   "gotcha" moment.   Had it really been a good faith objection,

     16   Your Honor, they would have raised it long ago.     In any event,

     17   the argument fails for four reasons.

     18        First, as reflected in the case law we cite in our

     19   opposition, courts in this jurisdiction have held that Section

     20   1129(a)(2) is geared at making sure that the debtor as plan

     21   proponent complies with its disclosure obligations under

     22   Section 1125 and not requiring adherence to every code section

     23   and every rule.

     24        Second, even if Section 1129(a)(2) is applicable, as the

     25   Southern District of Texas held in the Cyprus Wood case, this




                                                                   Appx. 01575
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      1   section is not a silver bullet that allows creditors to defeat

      2   confirmation based upon any infraction committed by the

      3   debtor.   Cypress Wood is not an outlier, as courts around the

      4   country have reached the same conclusion.

      5        Third, failure to file the reports in this case, Your

      6   Honor, was harmless error.   As the Court knows, the Debtor

      7   operates under court-approved protocols and has been

      8   transparent with the Committee from the commencement of the

      9   case.   The Committee has substantial rights to oversee the

     10   Debtor's operations, and there was just no evidence presented

     11   at confirmation that the Committee hasn't received all

     12   relevant information regarding the Debtor's operations, asset

     13   sales, and transfers, and the value of its holdings.

     14        Fourth, the cases cited by the Appellants are

     15   distinguishable.   None of them involved failure of a

     16   confirmation because of a violation of a bankruptcy rule.      In

     17   each of the cases, the debtor committed multiple material

     18   violations that went to the debtor's credibility, its

     19   transparency with creditors, and the indifference of their

     20   obligations as a debtor-in-possession.      None of these cases

     21   were remotely similar to the case that we have here and

     22   support the denial of confirmation.

     23        Next, Your Honor, I want to turn to the exculpation

     24   provision.   The Appellants all argue that the Court exceeded

     25   its authority in approving the exculpation provision, which




                                                                   Appx. 01576
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      1   they describe as unprecedented, far-reaching, and it tramples

      2   their rights.

      3       As I discussed previously, Your Honor, the concern that

      4   the exculpation provision applies post-effective date to

      5   business decisions is just plainly wrong.     It only applies

      6   post-effective date to narrow substantive issues relating to

      7   implementation and consummation of the plan and do not impact

      8   the ability to assert post-effective-date claims or enforce

      9   post-effective-date rights under assumed contracts.

     10       I know, Your Honor, that both the exculpation provisions

     11   in Pacific Lumber and Thru applied to matters relating to

     12   implementation and consummation of the plan.     We acknowledge,

     13   of course, that those exculpations were struck down for

     14   reasons distinguishable for this case. However, the Court

     15   found those provisions unacceptable because they applied to

     16   non-debtors, not because they applied to events occurring

     17   after the effective date relating to implementation or

     18   consummation of the plan.

     19       Putting that issue aside, Your Honor, the principal

     20   argument Appellants rely -- raise is that the Court's ruling

     21   is directly contrary to the Fifth Circuit's opinion in Pacific

     22   Lumber.   However, the Court was very careful in its ruling not

     23   to run afoul of Pacific Lumber, and, in fact, its ruling is

     24   consistent with Pacific Lumber and will not require any change

     25   in Fifth Circuit law.




                                                                   Appx. 01577
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      1       First, the Court relying on Pacific Lumber's citation to

      2   the Fifth Circuit's prior decision in Republic v. Shoaf, the

      3   Court held that the Court has already exculpated the

      4   independent board, the CEO, the CRO, and their respective

      5   agents, pursuant to the January 9th and July 16th orders.      As

      6   those orders were final, not appealed by the Court [sic], they

      7   are the law of the case and conclusively establish the

      8   exculpation of those parties independent of the exculpation

      9   provision of the plan.

     10       The Advisors argue in their reply that these orders do not

     11   exculpate the parties for negligence and are only gatekeeper

     12   provisions.   This argument, which they make in their reply for

     13   the first time, lacks any evidentiary support.     Rather, the

     14   uncontroverted evidence at confirmation was to the contrary.

     15   Mr. Seery and Mr. Dubel, two of the three independent board

     16   members, testified at confirmation that they both understood

     17   that the January 9th order, and as it related to Mr. Seery the

     18   July 16th order, provided exculpation for negligence in the

     19   performance of their duties.   They both testified that they

     20   would not have undertaken their role as independent director

     21   or CEO if they were not assured of exculpation.

     22       Accordingly, the Advisors' argument that these orders did

     23   not provide for exculpation because they didn't use the word

     24   exculpation is just flat-out wrong.

     25       The Advisors next argue that these orders were case




                                                                   Appx. 01578
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      1   administration orders and were not intended to apply post-

      2   confirmation.    So the Advisors would have the Court believe

      3   that the independent directors, who were concerned about

      4   exposure to frivolous litigation in this highly-contentious

      5   case, expected they would be protected from negligence and

      6   have the benefit of a gatekeeper provision during the case but

      7   they would be open game to be sued for anything anywhere after

      8   the case was concluded.

      9       That argument is preposterous and certainly doesn't find

    10    any evidentiary support in the record.

    11        With all due respect to Mr. Rukavina, who is a late

    12    entrant into this case, he is in no position to tell the Court

    13    what was or was not intended in connection with those orders.

    14        Similarly, the argument that the orders must expire on

    15    confirmation because the Court lacks jurisdiction thereafter

    16    is illusory.    The Court certainly has and retains jurisdiction

    17    post-confirmation to enforce orders that it's entered during

    18    the case.

    19        Now, the Debtors do agree with the Appellants that the

    20    January 9th and the July 16th orders do not exculpate all of

    21    the exculpated parties under the plan.      This is where the

    22    exculpation provision comes in.    The Court found that the

    23    exculpation provision of the plan was consistent with Pacific

    24    Lumber for two reasons.

    25        Initially, since the Fifth Circuit did approve exculpation




                                                                   Appx. 01579
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      1   for Committee members, it is clear in the Fifth Circuit that

      2   there is no categorical prohibition on non-debtor

      3   exculpations.   The Court rightfully found that the Fifth

      4   Circuit's rationale for exculpating Committees and their

      5   members was equally applicable to exculpating Strand,

      6   independent directors, the CEO, the CRO, and their respective

      7   agents.   The Court found that these parties were analogous to

      8   Committee members rather than to incumbent directors and

      9   officers.   They came into this highly-litigious case post-

     10   petition and would not have been willing to serve without

     11   exculpation for negligence.

     12        The Court has also found that without the protection for

     13   exculpation for negligence suits from parties unhappy with

     14   their performance in the case and the outcome of the case,

     15   independent directors in general would be unwilling to serve

     16   in highly-contentious cases in the Fifth Circuit, which would

     17   be a setback for modern-day complex restructurings.

     18        The Court also read Pacific Lumber's limited rejection of

     19   exculpation provisions as resting on a key factual finding

     20   that distinguished that case from this case.     The Court

     21   rightfully determined that exculpation is appropriate if there

     22   is a showing that the costs that released parties might incur

     23   defending against such suits, such as negligence, are likely

     24   to swamp either the exculpated parties or the reorganization.

     25   Given the substantial costs that the Debtor has had to face




                                                                   Appx. 01580
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      1   during this case litigating with the Dondero entities, the

      2   Court had no trouble finding that in this case the potential

      3   for litigation and the exculpated parties could swamp the

      4   reorganization, and for this reason determined that Pacific

      5   Lumber supported the Court's ruling.

      6        Accordingly, Your Honor, this Court's ruling on

      7   exculpation provisions is entirely consistent with Pacific

      8   Lumber and the Appellants are not likely to succeed on appeal.

      9        Your Honor, the Appellants are also not likely to succeed

     10   on appeal with respect to the appeal of the injunction

     11   provision.   The Appellants often conflate the injunction

     12   provision with the gatekeeper provision.     I will first address

     13   the injunction provision, which is really the first three

     14   paragraphs of Article 9(f) of the plan.     The Funds argue that

     15   the injunction provision prohibits actions against non-debtors

     16   and is an impermissible third-party release.     It is not.   The

     17   injunction provision applies to the Debtor and its successors,

     18   the Reorganized Debtor, the Claimant Trust, and the Litigation

     19   Sub-Trust.

     20        The Funds argue that it enjoins claims against protected

     21   parties.   That's incorrect.   Protected parties does not appear

     22   in the first three paragraphs of Article 9(f).

     23        The Advisors' main argument is that the injunction

     24   provision is too broad because it prevents actions to

     25   interfere with the implementation and consummation of the




                                                                   Appx. 01581
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      1   plan, and as I said earlier, my comments should alleviate the

      2   Advisors' concerns.   We're not seeking to enjoin enforcement

      3   of contractual rights by use of the term implementation and

      4   consummation.

      5        Appellants' argument that this injunction -- the

      6   injunction provision here in this case is broader than the

      7   injunction rejected by the district court in Thru is

      8   misleading.   The only issue in Thru was whether it

      9   impermissibly applied to non-debtor third parties.     That is

     10   not the issue here, as the injunction provision only applies

     11   to the Debtor and successors.    Thru did not address whether or

     12   not -- an injunction extending to matters relating to

     13   implementation and consummation of the plan, as is the case we

     14   have here.

     15        Lastly, Your Honor, the Appellants cannot demonstrate a

     16   likelihood of success with respect to the gatekeeper

     17   provision.    The Court's determination to approve the

     18   gatekeeper provision was a mixed question of fact and law.

     19   Based upon the uncontroverted evidence at confirmation, the

     20   Court found that the Dondero entities' history of litigation,

     21   both prior to this case and during the case, justified the

     22   Court's approval of the gatekeeper provision.

     23        The Court also heard uncontroverted testimony from Mr.

     24   Seery that the continued threat of harassing litigation from

     25   the Dondero entities would threaten success under the plan.




                                                                   Appx. 01582
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      1        So, based upon the foregoing, the Court concluded that

      2   there was an evidentiary showing as to the need for a

      3   gatekeeper provision, a finding that is unlikely to get

      4   overturned on appeal.

      5        The Appellants raise two arguments on why the gatekeeper

      6   provision is unlawful and is likely to get overturned on

      7   appeal.   First they argue that the Court did not have

      8   authority to approve the gatekeeper provision.     Second, they

      9   argue that the Court will not have jurisdiction to perform the

     10   gatekeeper function.    Neither argument has any merit.

     11        The Court relied on several provisions of the Bankruptcy

     12   Code providing for a gatekeeper provision in aid of

     13   implementation of the plan, including Section 105 and

     14   1123(b)(6) of the Code.    The Court also relied on the Fifth

     15   Circuit cases of Carroll from 2017 and Baum from 2008 for the

     16   authority of a court to deal with serial litigants by imposing

     17   a gatekeeper provision.    And as we briefed, gatekeepers are

     18   not some new intervention, but have been approved by courts in

     19   this district, including Judge Lynn in the Pilgrim's Pride

     20   case and Judge Houser in CHC Group.

     21        Similarly, Your Honor, the argument that the Court lacks

     22   jurisdiction to act as the gatekeeper fails.     Excuse me, Your

     23   Honor.    The Debtor agrees that the Court's jurisdiction is

     24   more limited post-confirmation.    And that may ultimately mean

     25   that a court may not have authority to adjudicate each and




                                                                    Appx. 01583
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      1   every claim relating to the post-confirmation period that

      2   comes before it, but it doesn't mean that the Court cannot act

      3   as a gatekeeper to determine if colorable claims exist.

      4   Appellants continue to ignore the Fifth Circuit's opinion in

      5   Villegas, where the Fifth Circuit said that a bankruptcy court

      6   may act as a gatekeeper under Barton to determine if a claim

      7   exists, even if the court will not have authority under Stern

      8   to adjudicate that claim.    That's exactly what's going on

      9   here.

     10          Accordingly, Appellants are not likely to prevail on

     11   appeal on this issue of the propriety of the gatekeeper

     12   function.

     13          Next, with respect to harm, Your Honor, the Appellants

     14   must demonstrate that they will suffer irreparable harm if the

     15   stay is not granted.    This they cannot do.

     16          First, Appellants argue that, because their appeals may be

     17   rendered moot without a stay, that constitutes irreparable

     18   harm.    This argument proves too much, Your Honor.   If

     19   Appellants are correct, then any party objecting to

     20   confirmation of a plan that might be rendered moot without a

     21   stay would be entitled to a stay, and that's not the law.

     22          Your Honor presided over a case last year called SR

     23   Construction v. Palm Springs, where Your Honor refused to

     24   grant a stay pending appeal of an order approving a credit

     25   bid.    You were affirmed by the district court, which rejected




                                                                     Appx. 01584
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      1   mootness as constituting irreparable harm, reasoning that:

      2   The Court agrees with the majority of courts in the circuit,

      3   finding that the risk of mooting a bankruptcy appeal standing

      4   alone does not constitute irreparable harm warranting a stay.

      5       Appellants' remaining arguments suffer from the same

      6   misinterpretation of the language implementation of plan and

      7   consummation of the plan that I have previously discussed in

      8   the context of standing.   Appellants are concerned that the

      9   injunction will prevent them from seeking to terminate the CLO

    10    agreements or exercising rights thereunder and the concern

    11    that the exculpation will prohibit them from asserting post-

    12    effective-date claims.

    13        Preliminarily, these arguments only apply to the Funds, if

    14    at all.   Neither Dondero, Get Good, Dugaboy have any -- or the

    15    Advisors have any post-confirmation contractual relationship

    16    with the Debtor other than the ones with the Advisors which I

    17    mentioned previously.

    18        And as I said, while the Debtor and the Advisors were

    19    parties to shared service agreements, those agreements were

    20    terminated and the Court reserved exclusive jurisdiction over

    21    any remaining disputes, as well as in connection with the

    22    shared resource agreement that the parties have entered.

    23        Nothing in the plan impacts the Advisors' ability to

    24    pursue whatever rights they have under the February 24th order

    25    relating to shared services or the shared resources agreement.




                                                                   Appx. 01585
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      1        And the Funds are wrong that either the injunction

      2   provision or the exculpation provision affects their right

      3   under the CLO management agreements.    The Funds', as I said,

      4   right to terminate the CLO management agreements will be

      5   determined by the existing adversary proceeding which is

      6   scheduled for hearing next week.

      7        Thus, the plan does not insulate the Debtor and other

      8   parties from liability, which, under the applicable CLO

      9   agreements, in any event, limits such claims to negligence,

     10   willful misconduct, or fraud.    Nor does the plan prevent the

     11   Funds from exercising their contractual remedies.     It just

     12   prevents enjoined parties from filing an action before getting

     13   court approval and allowing that action to go through the

     14   gate.

     15        Your Honor, turning to the harm that the Debtor and the

     16   creditors will suffer, they will suffer substantial harm,

     17   which basically the Appellants gloss over.     They continue to

     18   argue that there's no harm, there's no exit financing, the

     19   Debtor can just do what it's doing, and that liquidating its

     20   assets, really, no harm, no foul.    However, they're wrong, and

     21   the Debtor will be harmed in three significant ways.

     22        First, as Mr. Seery provided uncontroverted testimony at

     23   the confirmation hearing, that the value of the Debtor's

     24   assets would be enhanced by eliminating the burdensome

     25   restrictions the Debtor operates under in Chapter 11.




                                                                   Appx. 01586
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      1       Second, remaining in Chapter 11 will substantially

      2   increase professional fees compared to what they would be at

      3   confirmation.   The Committee will still exist, with their

      4   complement of professionals, and the Dondero entities will

      5   likely continue to object to virtually every motion, requiring

      6   needless evidentiary hearings and likely more appeals.

      7       Third, the creditors' rights to receive recoveries will be

      8   delayed.   The argument that the delay can be compensated by a

      9   bond for interest at the federal judgment rate, which is less

     10   than 10 basis points, is farcical.    These creditors have

     11   waited years, and in some cases more than a decade, to receive

     12   payment.   Paltry interest is hardly sufficient compensation.

     13       Accordingly, the Appellants cannot come close to

     14   demonstrating that the Debtor and its creditors will not be

     15   harmed.

     16       And lastly, Your Honor, with respect to public interest,

     17   the Appellants argue that public interest is served because

     18   it's necessary to respect the contractual rights of various

     19   parties, protect the interests of thousands of investors,

     20   prevent the Debtor from violating the securities laws, and

     21   respecting and upholding precedent.    Your Honor, while these

     22   words sound good, they really don't apply in this case.      The

     23   Dondero entities are the only parties who have tried to get in

     24   the way of confirmation of the plan.    It is the Dondero

     25   entities who are pursuing their agenda and their intent and




                                                                   Appx. 01587
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     1   attempt to invoke the interests of innocent public retail

     2   investors, none of whom have ever appeared in this case, have

     3   any claims against the Debtor, or have any contractual

     4   relationship with the Debtor, should ring hollow to the Court.

     5        As the Yucaipa court that we cite in our materials noted,

     6   in talking about the public interest, courts recognize the

     7   strong need for -- public need for finality of decisions,

     8   especially in bankruptcy proceedings.    The public interest

     9   requires bankruptcy courts to consider the good of the case as

    10   a whole and not individual investment concerns.     The public

    11   interest cannot tolerate any scenario under which private

    12   agendas can thwart the maximization of value.

    13        Your Honor, the Court should not let the Dondero entities'

    14   agenda get in the way of the case any more than it has already

    15   done.

    16        And lastly, Your Honor, with respect to the bond, if the

    17   Court is inclined to grant the motions, Appellants are

    18   required to post a bond to protect the Debtor from any harm

    19   resulting from the imposition of the stay and the delayed

    20   effective date.   Appellants now agree that their initial

    21   proposal of a million dollars was insufficient to cover the

    22   additional costs of the case remaining in Chapter 11.      Their

    23   new proposal in their reply, that the amount of the bond

    24   should be $3 million -- and I think Mr. Rukavina even upped

    25   that to $4 million -- is based on the faulty premise that




                                                                   Appx. 01588
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      1   keeping the case in Chapter 11 will only result in an increase

      2   of professional fees per month of $125,000 compared to what it

      3   would be outside.   Appellants don't seem to have been paying

      4   attention to the significant expenses the estate has been

      5   forced to incur because of Appellants' actions in the Chapter

      6   11 case.

      7       If the Debtor remains in Chapter 11, we'll have to seek

      8   approval of a variety of actions required by the Bankruptcy

      9   Code, including the monetization of assets, resolution of

     10   claims, retention and compensation of professionals.     And if

     11   past is prologue, Your Honor, the Debtor can expect the

     12   Appellants in one form or another to object to many of these

     13   actions, objections which will involve discovery, an

     14   evidentiary hearing, and likely appeal, expenses that will not

     15   be necessary if the plan goes effective.

     16       Accordingly, the argument the keeping the Chapter 11 cases

     17   going at an additional monthly cost of $125,000 while the

     18   appellate process plays out is fantasy.     While no one has a

     19   crystal ball, Your Honor, to determine what the actual amount

     20   of the costs will be, the Debtor's proposed analysis,

     21   comparing average fees during the course of this case to those

     22   projected post-effective date, is as good a proxy as any.

     23   Therefore, Your Honor, the Debtor asks that if the Court is

     24   inclined to grant the stay that the Court condition the stay

     25   on the posting of a $17.4 million bond.




                                                                   Appx. 01589
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      1              Thank you, Your Honor.

      2              THE COURT:   Okay.   Thank you.   All right.   I'll hear

      3   rebuttal from the Movants.

      4              MR. CLEMENTE:   Your Honor, if I may?    Your Honor, if

      5   I may?

      6              THE COURT:   Oh, I'm sorry.

      7              MR. CLEMENTE:   Matt Clemente, Committee --

      8              THE COURT:   I'm sorry.

      9              MR. CLEMENTE:   No, no.   No need to apologize.

     10   Absolutely not, Your Honor.

     11              THE COURT:   Okay.

     12              MR. CLEMENTE:   I only have a minute or two, --

     13              THE COURT:   Okay.

     14              MR. CLEMENTE:   -- if Your Honor will indulge me,

     15   quickly.

     16              THE COURT:   Go ahead.

     17       OPENING STATEMENT ON BEHALF OF THE CREDITORS' COMMITTEE

     18              MR. CLEMENTE:   Thank you, Your Honor.    Again, Matt

     19   Clemente on behalf of the Committee, for the record.

     20        Your Honor, you carefully considered a full record that

     21   was before you at the confirmation hearing, and you rendered a

     22   very thoughtful and detailed ruling and decision based on the

     23   voluminous record that was before you in this case, not just

     24   at the confirmation hearing but throughout the duration of

     25   this case since, I believe, late 2019, when it first came in




                                                                    Appx. 01590
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      1   front of you.

      2       Nothing in the Movants' arguments, Your Honor, raises any

      3   new issues that were not carefully considered by the Court in

      4   a thoughtful manner.

      5       So, in short, Your Honor, Mr. Pomerantz effectively

      6   addressed and laid out the issues with respect to the Movants'

      7   request to stay, but they have failed to meet their incredibly

      8   high burden of the extraordinary remedy of giving a stay of a

      9   confirmation order.

     10       Your Honor, additionally, from the Creditors' perspective,

     11   and Mr. Pomerantz touched very briefly on this, as Your Honor

     12   knows, many of the creditors here have been waiting, sometimes

     13   as long as a decade, and any delay occasioned by the stay will

     14   cause further harm to those creditors, Your Honor.

     15       As Your Honor knows, the plan that Your Honor confirmed

     16   was heavily negotiated with the Committee, and the Committee

     17   believes it will serve, among other things, to reduce costs,

     18   allow for the efficient and timely distribution to creditors,

     19   provide a mechanism to vindicate claims against Dondero and

     20   his tentacles, and provide a detailed and carefully-

     21   constructed process and procedure to allow for the

     22   maximization of the assets through the monetization and the

     23   pursuit of claims.

     24       Your Honor, the Committee believes that going effective is

     25   the way -- is in the best interest of the creditor




                                                                   Appx. 01591
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      1   constituency, after carefully and thoughtfully considering the

      2   alternatives, including languishing in bankruptcy as suggested

      3   by the Movants.

      4        Your Honor, I refer you to the rest of our arguments in

      5   our objection and joinder that we filed, but we believe that

      6   the Movants' motion for a stay should be overruled and that

      7   there should be no stay granted.

      8        Your Honor, that's all I had for you.     If you have any

      9   questions for me, I'd be happy to address them.

     10             THE COURT:   All right.   No questions.   All right.

     11             MR. CLEMENTE:    Thank you, Your Honor.

     12             THE COURT:   I'll hear anything further now from the

     13   Appellants collectively.    I guess I'll start with Mr.

     14   Hogewood, since you went first before.      Anything at this point

     15   to add?

     16             MR. HOGEWOOD:    Yes, Your Honor.   Just very briefly.

     17   I believe that I heard Mr. Pomerantz acknowledge that the

     18   Funds had standing on a narrow point, and standing is

     19   standing, so I'll take that.

     20        I don't think I testified from the podium.     Rather, I

     21   summarized testimony that Mr. Post and others provided during

     22   the course of the confirmation hearing.

     23        The gatekeeper provision goes well beyond what the Fifth

     24   Circuit has previously permitted, and that is of grave concern

     25   to our client, as well as the finding related to control.        And




                                                                    Appx. 01592
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      1   for those reasons, we are seeking a stay.

      2          And then there was a reference to these --

      3               THE COURT:   Can I ask you a question?    You say you

      4   perceive that the gatekeeping provision goes well beyond

      5   anything that the circuit has allowed.        But what about my

      6   colleagues in the Northern District of Texas?        Do you think

      7   this is broader than what retired Judge Lynn permitted in

      8   Pilgrim's Pride or our former Chief Judge Houser allowed in

      9   CHC?

     10               MR. HOGEWOOD:   Well, Your Honor, in this context, my

     11   clients' contracts and the CLO contracts have been assumed,

     12   and in order to exercise rights under those contracts we're

     13   obligated to seek permission.      And we should be able to

     14   proceed under the terms of those contracts, and I don't think

     15   that we can do that under the current gatekeeper provision.

     16          To the extent that that is similar to gatekeeper

     17   provisions decided by other bankruptcy judges, I -- it may be

     18   the same, but it is -- I don't -- but it is not yet the law of

     19   the Fifth Circuit, and I think that's a reason to grant a stay

     20   pending appeal, to determine whether the provisions in this

     21   plan are permissible within the Fifth Circuit.

     22               THE COURT:   Okay.   Thank you.

     23               MR. HOGEWOOD:   The last thing I wanted to just

     24   briefly touch upon is I think there was a mention that we

     25   contest that we're related parties under what the January 2020




                                                                     Appx. 01593
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      1   order.   We weren't parties to that order.    We did not consent

      2   to it on behalf of the Funds.

      3       Even if we are related parties, that prohibition relates

      4   to Mr. Dondero.   Mr. Dondero is prohibited from directing

      5   related parties to take specific action.     And I understand

      6   that the Debtor disagrees that the Funds function

      7   independently.    The Court has made findings on that subject,

      8   that they do not function independently.     But that is one of

      9   the main reasons for which we are seeking both a stay and are

    10    pursuing this appeal, to ask the appellate court to correct

    11    those conclusions.

    12        So, with that, Your Honor, we ask you to stay the

    13    confirmation order pending appeal, and I have nothing further.

    14    Thank you.

    15              THE COURT:   All right.   Thank you.   Mr. Rukavina?

    16              MR. RUKAVINA:   Your Honor, thank you.   And I'll be

    17    brief.

    18        On this employee claim transfer issue, Your Honor, when

    19    those issues come up before you, you'll see that the employees

    20    transferred their claims in late February or early March.

    21    They did so because my clients basically gave them the years

    22    of credit for seniority that they had at the Debtor with

    23    respect to our bonus plans.   In other words, we're trying to

    24    make good what they lost with the Debtor.     And in exchange,

    25    they assigned their claims to us.




                                                                   Appx. 01594
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      1       The reason why I didn't file the 3001 notices until

      2   yesterday is because it wasn't until Friday night that the

      3   Debtor challenged my standing, even though the Court found I

      4   had standing at the confirmation.    So I got the employees as

      5   fast as I could.

      6       In other words, nothing to do with that had anything to do

      7   with engineering standing, and I question why Mr. Pomerantz

      8   would have a good faith basis for saying that.

      9       As far as what I heard for the first time today, that some

     10   employees tampered with the books and records of the Debtor, I

     11   have no idea what the Debtor is talking about.     I'm sure it'll

     12   come out in due course.   But I hope that there's a good faith

     13   evidentiary basis for having made those statements.

     14       Your Honor, if we look at -- and Your Honor doesn't have

     15   to pull it up; I'm not suggesting that you do -- but it's in

     16   the record.   On Page 198 of the first day's confirmation

     17   trial, I asked Mr. Seery about the injunctions and I asked,

     18   and I'm quoting now, "Do I understand correctly that this

     19   provision we've just read means that, upon the assumption of

     20   these CLO management agreements, if the counterparties to

     21   those agreements want to take any action against the

     22   Reorganized Debtor, they first have to go through this

     23   channeling injunction?"   Mr. Seery answers, "I believe that's

     24   what it says, yes."

     25       And now, to paraphrase, I continue asking him, and I say,




                                                                   Appx. 01595
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      1   "Because the wind-down of the business of the Reorganized

      2   Debtor will include the management of these assets?"      And he

      3   says yes.

      4        And also, very briefly, on Page 206 of that same

      5   transcript, and I'm paraphrasing now, I asked Mr. Seery to

      6   tell me what the interference with the implementation or

      7   consummation of the plan means, and he answers, now I'm

      8   quoting, "That it means in some way taking any actions to

      9   upset, disrupt, stop, or otherwise prohibit or hurt the estate

     10   from implementing or consummating the plan."     Then I ask, "Is

     11   this intended to be very broad?"    And he says yes.   Then I ask

     12   him to be more specific, Your Honor.    Mr. Morris objects based

     13   on form, and the Court sustains that objection before I may

     14   respond to it.

     15        So I hope the Court will forgive us for being very

     16   concerned about these injunctions, especially when, in the

     17   last two months, we had a mandatory injunction hearing before

     18   Your Honor where the Debtor alleged massive, massive

     19   irreparable injury, just to concede that its request was moot,

     20   and based on tortious interference we had a hearing in January

     21   where the Debtor admitted that it closed its sales, there was

     22   no interference, and all that happened was that our employees,

     23   our employees, refused to do something that Mr. Seery

     24   requested.

     25        So when I hear Mr. Pomerantz say, whoa, whoa, whoa, these




                                                                   Appx. 01596
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      1   are actually very narrow provisions, Mr. Rukavina is not smart

      2   enough to understand what I'm saying, then I would suggest,

      3   Your Honor, that the Debtor do a plan modification and moot a

      4   lot of our objections.   If Mr. Pomerantz's view of these

      5   injunctions as being narrow is true, notwithstanding what Mr.

      6   Seery testified to, then that's the proper remedy.     Let's

      7   amend the plan by agreement, and if they want to moot ninety

      8   percent of our arguments, we'd be happy to do that.

      9       We don't want to appeal.    We don't want a stay pending

     10   appeal.   We just don't want contempt in front of Your Honor

     11   four months from now because something that we do in good

     12   faith is brought before Your Honor as something nefarious

     13   because apparently we're all Dondero tentacles.

     14       Your Honor, as far as the Debtor collaterally attacking

     15   its own confirmation order, now saying that, well, creditors

     16   might receive a hundred percent, on Page 41 the Court finds

     17   it's 71 percent, so I think that argument carries no weight.

     18       And finally, Your Honor, I just want to leave you with one

     19   parting thought, because I think -- I think it is important.

     20   The Debtor has argued that we are all disrupters, that we are

     21   trying to help Mr. Dondero burn down the house.     The Court, to

     22   one degree or another, seems to have accepted that view.       What

     23   we have tried to tell Your Honor, at least the Advisors and

     24   the Funds, what we have tried to tell Your Honor is that there

     25   is a business dispute underlying all of this, a good faith




                                                                   Appx. 01597
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      1   business dispute.   The Debtor is liquidating assets worth more

      2   than a billion dollars in a manner that we'd rather the Debtor

      3   not do.

      4       Now, the Court can decide whether the Debtor has the power

      5   to do so. It's a legitimate business dispute.     I can see both

      6   sides of it.    But it is that businesses dispute that is

      7   driving this appeal and this stay pending appeal.

      8       I heard Mr. Pomerantz say that if the Chapter 11 case

      9   remains open, the Debtor will have to go to the Court to

     10   approve sales, et cetera.   That's what we've been asking for

     11   for months now.    We would love it if the Debtor did that, to

     12   -- in open, with transparency, with bid procedures, to sell

     13   these remaining assets.    Because, well, not my clients

     14   directly, but Mr. Hogewood's clients, and my clients

     15   indirectly, own those interests in those assets.     But the

     16   Debtor has never taken that position before.     The Debtor has

     17   said that it gets to liquidate these assets without authority

     18   of the Court.

     19       So if the price of a stay pending appeal is to have the

     20   Debtor have to come to the Court with approved sale processes

     21   and bid procedures, how can anyone complain about that?      We

     22   will fund that stay pending appeal bond, as long as it's

     23   reasonable, any day of the week, because that's all that we've

     24   been asking for, that the Debtor not liquidate quickly and for

     25   less than appropriate value the assets that it has remaining




                                                                   Appx. 01598
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      1   because it fundamentally conflicts with the rights of the

      2   underlying interest holders.

      3        Thank you, Your Honor.

      4             THE COURT:    All right.    Anyone else?   Mr. Taylor?

      5             MR. TAYLOR:   Yes, Your Honor.

      6             THE COURT:    Uh-huh.

      7             MR. TAYLOR:   Yes, Your Honor.     Clay Taylor on behalf

      8   of Mr. Dondero.

      9             THE COURT:    Okay.

     10             MR. TAYLOR:   To echo a little bit of what Mr.

     11   Rukavina said, and I head Mr. Pomerantz say they will have

     12   significant expenses getting court approval inside a Chapter

     13   11, including getting permission for asset sales.       One, I'm

     14   very encouraged to hear that they have now admitted the errors

     15   of their way and that they should have gotten permission for

     16   asset sales.   It didn't happen before.     But if we could just

     17   get adequate notice, either inside or outside of Chapter 11,

     18   that's what Mr. Dondero wants.

     19        He wants the opportunity to bid in an open market for

     20   these assets or bring other bidders to the table.       He wants to

     21   increase value.   He fundamentally disagrees with Mr. Seery.

     22   And, you know, it's okay to have a disagreement on a business

     23   issue as to whether this is the best way to liquidate these

     24   assets.   He wants to see if value could ever get in a

     25   waterfall down to Mr. Dondero.       He wants to limit his




                                                                       Appx. 01599
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      1   liability or any of those entities in which he owns or are a

      2   part of liability to the investors that they're holding their

      3   money.    He wants to limit his potential liability for which

      4   these alleged alter ego claims are being brought and they say

      5   he is going to be liable for the difference in value.       He also

      6   wants to make sure he preserves his reputation in the

      7   marketplace as having been a savvy investor.

      8        So these are exactly the fundamental things that we're

      9   asking for that weren't done before.      That's why we're asking

     10   for a stay pending appeal, so they actually either, one, have

     11   to provide the proper notice as required under the Code and

     12   Procedures, or alternatively, if they don't, that they can be

     13   held liable for their actions, without the exculpation and

     14   release and that we go through a gatekeeper process.

     15        That is fundamentally the difference that we have and why

     16   we're asking for a stay pending appeal and why I try to state

     17   that succinctly and let Your Honor consider that.       Thank you,

     18   Your Honor.

     19              THE COURT:    All right.   Thank you.   Mr. Draper,

     20   anything further from you?

     21              MR. DRAPER:   I have a small comment.    Your Honor,

     22   look, you and I completely disagree on Pacific Lumber and its

     23   impact.   You spent a great deal of time looking at it and, you

     24   know, you have your opinion and the Fifth Circuit will have

     25   its opinion, since we're going through a direct appeal.




                                                                    Appx. 01600
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      1       The one point I would like to make is that I've never seen

      2   a de minimis limitation on somebody being a party in interest.

      3   I think that does not exist in the Bankruptcy Code.       I

      4   disagree that I have a de minimis interest, but I don't think

      5   that takes somebody away from being a party in interest or

      6   being affected by an order, and there's no case that stands

      7   for that proposition.

      8       So, with that, I have nothing further to say, Your Honor.

      9            THE COURT:     All right.   Thank you.

    10             MR. POMERANTZ:     Your Honor, may I briefly respond?

    11    This is Jeff Pomerantz.

    12             THE COURT:     Well, no, we -- I usually let the movants

    13    have the last word, so I think we're done.

    14             MR. POMERANTZ:     Okay.

    15             THE COURT:     All right.

    16             MR. POMERANTZ:     Thank you, Your Honor.

    17             THE COURT:     My clock shows 11:06.     I am going to take

    18    a break to collect my thoughts and look at these exhibits.

    19    And I'll tell you what.    We'll come back in 30 minutes, at

    20    11:36, and I'll give you my ruling.

    21        We also have a few housekeeping matters, a couple of

    22    housekeeping matters that I want to address when we come back.

    23    You know, we have this hearing Monday on the contempt motion

    24    as to Mr. Dondero, and I just want to see where things are

    25    with the Fifth Circuit mandamus effort that Mr. Dondero is




                                                                     Appx. 01601
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     1   pursuing.    I don't know if you all will have any updates when

     2   I get back.

     3         And then I hear that a motion for my recusal has been

     4   filed by Dondero through new counsel.         When was that, Nate?

     5   Was that last night?     Okay.   Anyway.

     6               THE CLERK:   It was last night.

     7               THE COURT:   It was last night.     So I'll just comment

     8   on that when I come back as well.      So, I'll see you in 30

     9   minutes.

    10               THE CLERK:   All rise.

    11         (A recess ensued from 11:07 a.m. to 11:54 a.m.)

    12               THE CLERK:   All rise.

    13               THE COURT:   All right.   Please be seated.    All right.

    14   We are going back on the record in the Highland motion for

    15   stay pending appeal.     The Court deliberated a little longer

    16   than I told you I would, but the Court is ready to make a

    17   record.    Is everyone out there?     Hopefully, we have everyone

    18   out there that we need.

    19         All right.   Mike, can you tell, everyone is still logged

    20   in?

    21               THE CLERK:   Yes, ma'am, they are.

    22               THE COURT:   Okay.   All right.    The Court has decided

    23   to deny the motions for stay pending appeal of the

    24   confirmation order.

    25         First, as we all know very well, courts in this circuit




                                                                      Appx. 01602
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      1   have held that a discretionary stay pending appeal of a

      2   bankruptcy court order should only be granted if a movant

      3   demonstrates the traditional four prongs:      (1) a likelihood of

      4   success on the merits; (2) some irreparable injury if the stay

      5   is not granted; (3) the granting of the stay would not

      6   substantially harm other parties; and (4) the granting of the

      7   stay would serve the public interest.       Many Fifth Circuit

      8   cases have articulated these standards, including In re First

      9   South Savings Association, 820 F.2d 700 (5th Cir. 1987) and

     10   Ruiz v. Estelle, 666 F.2d 854.

     11       The Fifth Circuit has also made very clear the party

     12   seeking a stay pending appeal bears the burden of proof on

     13   each of these elements.   The Court has said that while each of

     14   these four factors must be met, the movant need not always

     15   show a probability of success on the merits when a serious

     16   legal question is involved.   The Court, the Fifth Circuit, has

     17   hastened to add that this is not a coup de grâce for movants;

     18   still there are the other three prongs that have to be met.

     19       So, I also want to add a reference to Judge Marvin Isgur.

     20   My Southern District of Texas colleague wrote at length on

     21   this issue in a TNT Procurement decision in denying a request

     22   for a stay pending appeal as to three different orders he had

     23   entered during that Chapter 11 case.    In that case, he held

     24   that although the movant had met its burden of proof on the

     25   first factor, likelihood of success on the merits as to some




                                                                    Appx. 01603
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      1   of the legal issues in the challenged orders, that with regard

      2   to the second factor, irreparable injury, the presence of

      3   irreparable injury is a fact issue, and the movant requesting

      4   a stay pending appeal must prove such fact by a preponderance

      5   of the evidence.   And Judge Isgur held that because the movant

      6   failed to present any evidence on this prong at the hearing,

      7   there could be no proof of irreparable injury.     So he denied a

      8   stay pending appeal.

      9       So, turning to the facts and arguments here, first, before

    10    addressing the four prongs, the four traditional factors for

    11    evaluating a request for a stay pending appeal, I'm going to

    12    address the standing challenge that the Debtor has made as to

    13    the four Appellants.   I determine there is standing, just as I

    14    did at the confirmation hearing, although I really want to

    15    reiterate we have a very close call on this standing argument.

    16    Clearly, we do not have traditional creditors here appealing a

    17    plan.   In fact, notably, we have an Official Unsecured

    18    Creditors' Committee with large strong creditors as members

    19    who have fought long and hard with this Debtor, both before

    20    the case in many years of litigation and during the case, and

    21    they've embraced the plan.

    22        The four Objectors, the Court continues to believe, are

    23    following the marching orders of Mr. Dondero, the company's

    24    former CEO, and are de facto controlled by him, based on prior

    25    evidence this Court has heard.




                                                                   Appx. 01604
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      1       In any event, the Court determines that these four

      2   Appellants, these four categories of Appellants, do have some

      3   plausible argument of being persons aggrieved or affected by

      4   the confirmation order, remote as that interest is by

      5   traditional Chapter 11 standards.    And so, thus, I find they

      6   have standing.

      7       Again, for the benefit of courts hearing an appeal on this

      8   or further considering a motion for stay pending appeal, I

      9   stress that this bankruptcy judge has a very hard view on

     10   this.   It's an extremely close call.   Again, these Appellants

     11   are not conventional creditors affected by plan class

     12   treatment, or direct interest holders, for that matter.      So

     13   it's a hard call.

     14       But, having found technical standing, the Court turns to

     15   the evidence here with regard to the four-factor test for a

     16   stay pending appeal.   And we had no witnesses.    We had merely

     17   documentary evidence and argument.    The Court finds and

     18   concludes that this documentary evidence and argument did not

     19   meet the burden of proof necessary to justify a discretionary

     20   stay pending appeal.

     21       On the first factor, likelihood of success on the merits,

     22   there was at least a serious legal question raised.     There

     23   were, of course, three primary legal issues raised as errors

     24   by this Court in the confirmation order.     The first two

     25   arguments were not pressed too much in legal argument today,




                                                                   Appx. 01605
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      1   although they were stressed in the briefing.     One, the

      2   absolute priority rule violation argument; and then, two, the

      3   Bankruptcy Rule 2015.3/Bankruptcy Code Section 1129(a)(2)

      4   violation argument.

      5       The Court considered these arguments to wholly lack merit,

      6   and are borderline frivolous, frankly.      They do not raise a

      7   serious legal question.

      8       The question of the propriety of the exculpations, the

      9   plan injunctions, and the gatekeeping provisions are a harder

     10   call.   While this Court strived mightily to understand the

     11   parameters, the dictates, the exceptions of Pacific Lumber as

     12   to the exculpations, the Court acknowledges others may

     13   reasonably disagree that I interpreted Pacific Lumber

     14   correctly as to when the Fifth Circuit might extend its policy

     15   rationales for exculpations or whether it might extend the

     16   holding of Pacific Lumber or elaborate on the holding of

     17   Pacific Lumber when there's a situation like this one where we

     18   have an independent CEO and board members who are more like

     19   Official Unsecured Creditors' Committee members than typical

     20   incumbent officers and directors, and also, in an exceptional

     21   situation like this case, where there's a real risk, a real

     22   risk of burdensome and vexatious litigation going forward if

     23   we don't have in place the exculpations, the injunctions, and

     24   the gatekeeping provisions.

     25       I think there are also res judicata issues that cannot be




                                                                   Appx. 01606
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      1   ignored with regard to the prior January and July 2020 orders

      2   that contained similar provisions to the exculpation

      3   provisions and gatekeeping provisions.

      4       In any event, I'm going to spot the Appellants on this

      5   one, to use a slang term, the spot being that they have raised

      6   a serious legal question as to the exculpations, gatekeeping

      7   provisions, and plan injunctions, although I stress that I

      8   think pushing the envelope, to use that phraseology, is a bit

      9   of hyperbole certainly in connection with plan injunctions,

     10   which are very common in Chapter 11 plans, and even the

     11   gatekeeping provisions, which retired Judge Lynn and retired

     12   Chief Judge Houser have approved in very significant large

     13   Chapter 11 cases.

     14       But turning now to the other three prongs, the Appellants

     15   have not met their burden of proof.    They simply have not

     16   shown they will suffer irreparable harm, certainly not because

     17   of a mere mootness risk, and that's really the only harm that

     18   I truly think has been plausibly presented or argued here by

     19   Appellants.

     20       They cannot show there will not be substantial harm to the

     21   overall bankruptcy estate, when it undeniably will endure more

     22   administrative costs and burdens if the Debtor continues on as

     23   a debtor-in-possession in an already very lengthy case, by

     24   today's measure.    A 15-month case in today's world is a long

     25   Chapter 11 case.




                                                                   Appx. 01607
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      1       And the Court believes there will be a substantial harm to

      2   the legitimate creditors here, the creditors who have faced

      3   nothing but delay in pursuing their claims for years and

      4   years, some for decades now.

      5       And as far as the public interest factor, I do agree with

      6   one comment made today that this is more about Mr. Dondero's

      7   private agenda to get his company back, the company that he

      8   decided to file Chapter 11 back in October 2019, more than

      9   about protection of the public interest or the interests of

     10   retail investors that he or the Advisors or Funds purport to

     11   be acting to protect.

     12       So the discretionary stay is denied.

     13       As to the possibility of a stay pursuant to a bond being

     14   posted, we used to have a local district court rule that I

     15   believe was repealed a few years ago.       But even if it's still

     16   around, it's not terribly apropos for a confirmation order.

     17   It was Local District Rule 62.1, dealing with a supersedeas

     18   bond.   It provided, unless otherwise ordered by a presiding

     19   judge, a supersedeas bond staying execution of a money

     20   judgment shall be in the amount of judgment plus twenty

     21   percent of that amount to cover interest and any award of

     22   damages for delay, plus $250 to cover costs.      Certainly, that

     23   would be a very large number here.    And I don't entirely agree

     24   with retired Judge Richard Schmidt, who, in the ASARCO case,

     25   said the entire amount of the indebtedness under a plan is the




                                                                    Appx. 01608
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      1   appropriate amount for a bond.

      2        So, what I will do here is I will accept the Debtor's

      3   suggestion of $17.4 million as an appropriate amount of the

      4   bond based on the argument made in its pleadings and today.        I

      5   will tell you I frankly think it's a little on the low side,

      6   but I will accept it as reasonable since the Debtor has, I

      7   guess, looked into this deeply and decided that would be

      8   reasonable.

      9        So, if the Appellants are willing to post a $17.4 million

     10   bond, the Court will grant the stay pending appeal.

     11        All right.   Well, as I said, I have a hard stop at 12:15,

     12   so I'm going to ask --

     13               MR. POMERANTZ:   Your Honor, this is Jeff Pomerantz.

     14   I just had one comment on your last comment.

     15               THE COURT:   Okay.

     16               MR. POMERANTZ:   My presentation to the Court was not

     17   to say that are they should get a stay if they posted the

     18   bond.   My comment to the Court and argument to the Court is

     19   they have not met the standard, but even if they had met the

     20   standard, they still need to post a bond.     So it was only in

     21   the event that you found that they had satisfied their

     22   standard.    So the Debtor's view is that there should not be

     23   any stay, regardless of whether they post a bond or not.

     24        As I indicated in my argument and we indicate in our

     25   pleadings, one of our arguments that we did not quantify, and




                                                                   Appx. 01609
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      1   I suspect we would have quantified if there would have been an

      2   evidentiary hearing on the bond, is the effect on the asset

      3   sale based upon Mr. Seery's testimony at confirmation.

      4        So we don't think that the Appellants should have a right

      5   to a bond.   They don't have a right to a bond.    And I just

      6   wanted to make sure that Your Honor didn't misconstrue my

      7   comments differently.

      8              THE COURT:   All right.   Well, I think I did

      9   misconstrue your argument.     I mean, my understanding of the

     10   case law is the courts of appeal view this as there's a

     11   discretionary stay where the Court has the discretion to grant

     12   a stay pending appeal.      And, you know, it's kind of

     13   unfortunate they use that term "discretionary," because there

     14   is a strict four-prong test that has to be met.     But if the

     15   Appellants are willing to put up an appropriate dollar amount

     16   as far as a bond, then I don't have discretion.     You know, I

     17   don't even go through the four-prong analysis.

     18        So, you're telling me you think I got the case law wrong

     19   on that?

     20              MR. POMERANTZ:    Your Honor, I didn't read the

     21   briefing by the Appellants to suggest that.     I certainly

     22   didn't read -- you know, present that to the Court in our

     23   arguments.   I don't know if that's the law.

     24        Your Honor, I fully expected that since -- look, a lot of

     25   what was presented on the amount of the bond was not evidence,




                                                                     Appx. 01610
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     1   right?   We presented exhibits.     The Appellants presented

     2   exhibits.

     3        If Your Honor is inclined to view it that way, I guess (a)

     4   I would like the opportunity to brief it; and (b) present

     5   evidence to Your Honor that the damage is in excess based upon

     6   the argument we made on the potential adverse impact to the

     7   sale of assets, as Mr. Seery testified on an uncontroverted

     8   basis at the confirmation hearing.

     9               MR. RUKAVINA:   Well, Your Honor, may I briefly

    10   interject?

    11               THE COURT:   Briefly.

    12               MR. RUKAVINA:   Your Honor, this was our evidentiary

    13   hearing, and just like the Court ruled against us based on the

    14   evidence on the discretionary stay, Mr. Pomerantz had his

    15   chance, the Court has adopted a $17.4 million number, we're

    16   going to try our best to get that bond in place ASAP.

    17        If the Court is inclined to consider post-hearing matters,

    18   I would ask for a short administrative stay of the effective

    19   date of the plan so that we're not prejudiced by that, because

    20   otherwise we're kind of in limbo.

    21               MR. CLEMENTE:   And Your Honor, if I may, it's Matt

    22   Clemente on behalf of the Committee.

    23               THE COURT:   Uh-huh.

    24               MR. CLEMENTE:   I agree with Mr. Pomerantz's comments.

    25   I don't believe -- at least, I didn't appreciate that today




                                                                   Appx. 01611
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      1   would be an evidentiary hearing over the size of the bond.        I

      2   understood the pleadings to read that there was a stay that

      3   was being requested by the Court [sic], and if the Court

      4   should otherwise determine that, based on the law, the stay

      5   was required -- which I believe, based on Your Honor's ruling,

      6   you did not believe it met the standard -- then there would be

      7   a discussion of a bond.

      8        So the Committee would like to offer evidence in

      9   connection with the Debtor, if appropriate, to the extent that

     10   Your Honor is suggesting that the size of a bond would then

     11   result in a stay as a matter of right on behalf of the

     12   Appellants, or the potential Appellants.

     13        Thank you, Your Honor.

     14             THE COURT:   All right.   Well, it was your burden,

     15   your -- Appellants -- burden to show -- and, again, I think

     16   I'm inclined to allow a little -- well, again, my

     17   understanding of the law is I have to grant a stay pending

     18   appeal if a sufficient bond is put up.      You know, forget about

     19   the four prongs if a sufficient bond is put up.

     20        I did not find the $1 million that increased to $3 or $4

     21   million, whatever the number was, was sufficient.

     22        It occurs to me that we really didn't tee up -- we really

     23   didn't tee up what was the size of the appropriate amount of

     24   bond, now that I think about it.    It was all about the

     25   discretionary stay, with that just kind of thrown in.




                                                                   Appx. 01612
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      1       So here is what I will do.         I'll deny the motion before

      2   me, but it is certainly with leave for us to have a follow-up

      3   hearing on a bond amount.      Okay?    I mean, Mr. Rukavina makes a

      4   fair point that he ought to get a small stay, small, a stay

      5   between the time we come back -- between today and the time we

      6   come back for him to argue about the appropriate bond amount.

      7   So -- I'm running into my hard stop -- we'll talk about that

      8   hearing date in a moment, but let's talk about what we have

      9   set next week.   We have the motion to hold Mr. Dondero in

     10   contempt related to the alleged violations of the preliminary

     11   injunction and TRO.     Is there any update from the Fifth

     12   Circuit on the mandamus request?

     13             MR. TAYLOR:    Your Honor, this is Clay Taylor on

     14   behalf of Mr. Dondero.

     15       My understanding of that is that briefing was requested by

     16   the Fifth Circuit of --

     17             THE COURT:    It was due the 16th.

     18             MR. TAYLOR:    -- the Debtor -- by the Debtor.

     19             THE COURT:    Yes.   It was due the 16th.

     20             MR. TAYLOR:    You're correct.      And that was filed.

     21   And it is under consideration by the Fifth Circuit.        And

     22   beyond that, I mean, of course, I wish I could tell you when

     23   they're going to rule, but I can't.        So I don't think anybody

     24   has any other update other than that.

     25             THE COURT:    All right.      So we'll go forward Monday at




                                                                      Appx. 01613
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      1   9:30 unless someone notifies my courtroom deputy over the

      2   weekend that the Fifth Circuit has said stop, you can't.

      3       All right.    Okay.    And then there's -- I don't know if the

      4   apparently new counsel who has filed a motion of recusal is on

      5   the line, but I'll just tell people I will let you all know by

      6   the end of today if I think I need a hearing on that or I

      7   think I need to give other parties in interest the opportunity

      8   to weigh in on that.      But I don't think it's going to stop me

      9   from going forward, just based on the very quick summary I got

     10   from one of my law clerks this morning.       But I'll let you know

     11   by the end of the day today if I think I need to set that for

     12   hearing or need responsive pleadings.

     13       All right.    The last thing before I'm late for my

     14   engagement is, Mr. Pomerantz, at some point -- no, this is the

     15   next-to-last thing.      At some point, you said we have a hearing

     16   next week on a preliminary injunction adversary as to the

     17   Funds.   Is that next week?

     18               MR. POMERANTZ:   Your Honor, I may have misspoke.    I

     19   think it's the 29th.

     20               THE COURT:    Okay.

     21               MR. POMERANTZ:   I could be corrected if I'm wrong.

     22   So, --

     23               THE COURT:    Okay.   So, with that, I'm going to offer

     24   you this.    Traci, correct me if I'm wrong:     I don't think we

     25   have anything set right now on Wednesday of next week,




                                                                     Appx. 01614
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      1   correct?

      2              THE CLERK:   That is correct.

      3              THE COURT:   Okay.   I will offer you Wednesday to come

      4   back on the bond issue.     And then, if that's the case, --

      5              THE CLERK:   That's --

      6              THE COURT:   -- then I'll give a temporary stay

      7   through 11:59 next Wednesday on implementing the plan to give

      8   the Appellants the opportunity to put on their argument and

      9   evidence and for the other parties to put on their argument

     10   and evidence about what is an appropriate bond amount.       Does

     11   that work?

     12              MR. RUKAVINA:    Your Honor, very quickly, our

     13   agreement in principle with the Debtor was that we'd have a

     14   week after a hearing on a temporary stay.       I would urge Your

     15   Honor to give us that after next Wednesday.       Otherwise, we're

     16   going to have to go to district court immediately.      I don't

     17   know if Mr. Pomerantz is agreeable to that.

     18              MR. POMERANTZ:    Yes, Your Honor.   We're prepared to

     19   give a week from the hearing, as our prior agreement was with

     20   Mr. Rukavina.

     21              THE COURT:   Okay.

     22              MR. POMERANTZ:    I would also suggest that, with

     23   respect to the hearing next Wednesday, number one, that by the

     24   end of the day today -- and it could be late evening -- that

     25   parties at least file their witness lists for who would be a




                                                                    Appx. 01615
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      1   witness at that hearing and that Your Honor set a joint

      2   deadline for any briefs, which would primarily be on the legal

      3   issue, for 3:00 p.m. Central time on Tuesday, so that Your

      4   Honor will have time to review them before the hearing and

      5   that we can at least see each other's legal position on

      6   whether a stay is appropriate even without meeting the

      7   standard in -- if there's a bond posted.

      8              THE COURT:   All right.    Well, sounds reasonable to

      9   me, since we're talking about such a specific narrow issue.

     10   Is everyone good with those deadlines?

     11              MR. RUKAVINA:    Your Honor, yes, and I know Your Honor

     12   has to run.   I will not be available for Wednesday, so please

     13   excuse me.    I'll have someone else handle it.

     14       And I would just ask that in the order denying the

     15   discretionary stay, or some order, that the effective date of

     16   the plan be pushed out by said week so we have it on paper and

     17   clarity.   Thank you, Your Honor.

     18              THE COURT:   All right.    That sounds reasonable, Mr.

     19   Pomerantz.    Okay.

     20              MR. POMERANTZ:    Thank you, Your Honor.   I guess the

     21   only addition to my -- what I -- on Tuesday, when people file

     22   their briefs, they should also file whatever exhibits they

     23   would be relying on Wednesday.       Today, with the witness, I

     24   realize it's a little probably early for people to get all

     25   their exhibits, but they should be able to get their witnesses




                                                                    Appx. 01616
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      1   by today and then their exhibits by 3:00 p.m. Central Tuesday,

      2   along with any briefs.

      3               THE COURT:   Okay.   So that sounds reasonable.    By the

      4   end of today, the witness and exhibit list, or did we just

      5   want to say witness --

      6               MR. POMERANTZ:    The witness list by the end of today.

      7               THE COURT:   Just the witness list.

      8               MR. POMERANTZ:    Just the witness list.

      9               THE COURT:   3:00 p.m. Central time Tuesday for the

     10   exhibit list, with exhibits filed, and any briefing.        Anyone

     11   have any contrary views?

     12       Okay.    That will be the ruling, then.    And I'll see you

     13   Monday, I guess.    We're adjourned.

     14               THE CLERK:   All rise.

     15               MR. POMERANTZ:    Thank you, Your Honor.

     16               MR. RUKAVINA:    Thank you.

     17       (Proceedings concluded at 12:20 p.m.)

     18                                    --oOo--

     19

     20                                 CERTIFICATE

     21        I certify that the foregoing is a correct transcript from
          the electronic sound recording of the proceedings in the
     22   above-entitled matter.
     23     /s/ Kathy Rehling                                    03/19/2021

     24   ______________________________________            ________________
          Kathy Rehling, CETD-444                               Date
     25   Certified Electronic Court Transcriber




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